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                         EXHIBIT 5
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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·UNITED STATES DISTRICT COURT

·3· · ·SOUTHERN DISTRICT OF NEW YORK

·4· · ·--------------------------------X

·5· · ·RAFAEL FOX, ET AL.,

·6· · · · · · · · · Plaintiffs,

·7· · · · · · · · · v.· · · · · · · CIVIL CASE NO.

·8· · · · · · · · · · · · · · ·1:19-CV-04650-AJN-SN

·9

10· · ·STARBUCKS CORPORATION,

11· · · · · · · · · Defendant.

12· · ·--------------------------------X

13· · ·DATE:· September 15, 2020

14· · ·TIME:· 10:00 A.M.

15

16· · · · · · · · · VIDEOCONFERENCE DEPOSITION OF RAMI

17· · ·KRANZ, pursuant to Notice, before Hope Menaker, a

18· · ·Shorthand Reporter and Notary Public of the State

19· · ·of New York.

20

21

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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·What year did you complete that

·3· · ·course?

·4· · · · · A.· · ·I completed that in the year 2019.

·5· · ·I've done it twice, actually.· It was 2019 and

·6· · ·2004 is the first time -- not '4, sorry.· 2014.

·7· · · · · Q.· · ·Does the HACCP certificate also

·8· · ·include education on pesticides and their use with

·9· · ·food?

10· · · · · A.· · ·Only for the source of contamination.

11· · · · · Q.· · ·If you describe -- you touched on it,

12· · ·but could you describe generally what your current

13· · ·duties are in your position as regional quality

14· · ·assurance?

15· · · · · A.· · ·So my duties and my role and

16· · ·responsibility is really to ensure that our stores

17· · ·maintain the Starbucks policies, the Starbucks

18· · ·standards to liaise with the food for the health

19· · ·inspectors at the Department of Health, to liaise

20· · ·with the Department of Agriculture and any other

21· · ·department I think that will, you know, evolve

22· · ·around food safety.

23· · · · · · · · ·I'm also considered more of a

24· · ·consultant for the operations team on food safety

25· · ·matters, cleanliness, and anything to do with the


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·newly transferred to it so I was not talking

·3· · ·about -- when I mean opportunities, I mean with

·4· · ·the Starbucks language that's just deficiencies

·5· · ·that we see, deficiencies in standards that

·6· · ·they're not upholding.· So we were more talking

·7· · ·about and coaching Rafael on how to get the store

·8· · ·back into standard, seeing that he was just newly

·9· · ·transferred into it.

10· · · · · Q.· · ·Did you have any discussion about

11· · ·pesticides or pest control?

12· · · · · A.· · ·We had discussion about fruit flies

13· · ·because they were still having some fruit fly

14· · ·issues then, but nothing about pesticides.

15· · · · · Q.· · ·Did you ever have any communication,

16· · ·as best you can remember, with Mr. Fox concerning

17· · ·Hot Shots or DDVP?

18· · · · · A.· · ·So one-on-one conversation with him,

19· · ·I don't recall.· I don't remember any e-mails, you

20· · ·know, phone calls with him.· If he was in one of

21· · ·the shift supervisor workshops, then possibly, but

22· · ·I don't remember if he attended any; and I don't

23· · ·believe I attended the huddles with him either.

24· · · · · Q.· · ·Does Starbucks have a policy that

25· · ·bears on permissibility of Hot Shots in its


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·stores?

·3· · · · · A.· · ·Absolutely.· So in the food safety

·4· · ·manual, it states clearly that the store

·5· · ·manager or our partners are prohibited to use any

·6· · ·pesticides and that only the pest vendors can use

·7· · ·them.

·8· · · · · Q.· · ·Are there any exceptions to that

·9· · ·policy?

10· · · · · A.· · ·I don't believe so, no.

11· · · · · Q.· · ·Is the food safety manual something

12· · ·that's made available to all store employees?

13· · · · · A.· · ·Yes, it is.

14· · · · · Q.· · ·As to the best of your memory as you

15· · ·sit here today have any pesticides, to your

16· · ·knowledge, been applied in Starbucks stores by

17· · ·Starbucks personnel apart from the one Hot Shot

18· · ·incident that you referred to?

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·So through my duties and my days with

21· · ·the district managers we had seen from time to

22· · ·time different types of products, yes.

23· · · · · Q.· · ·What types of products, if you could

24· · ·just name as many as you're aware of, that you are

25· · ·aware have been used by employees in stores?


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·2· · · · · A.· · ·Apple Cider Vinegar is one product,

·3· · ·you know, that I've seen used.· You know, I have

·4· · ·seen, you know, some -- I don't remember.· No,

·5· · ·Apple Cider Vinegar has mainly been the one

·6· · ·outside of what you've asked for.

·7· · · · · Q.· · ·What about CB-80, is that a chemical

·8· · ·that you're familiar with?

·9· · · · · A.· · ·I'm very familiar with CB-80.

10· · · · · Q.· · ·What is it?

11· · · · · A.· · ·CB-80 is a pesticide localized spray.

12· · · · · Q.· · ·Is that something, to your knowledge,

13· · ·that has been used by employees in Starbucks

14· · ·stores?

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·I believe it could be, yes.

17· · · · · Q.· · ·Did any Starbucks employee ever

18· · ·communicate to you that they were using CB-80 in

19· · ·Starbucks stores?

20· · · · · A.· · ·To the best of my knowledge, I don't

21· · ·recall.· It something I'll have go through and

22· · ·check.

23· · · · · Q.· · ·Would it be permissible for employees

24· · ·of Starbucks to use the CB-80 in Starbucks stores?

25· · · · · A.· · ·No, it would not.


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·2· · · · · Q.· · ·If an employee, say a store manager,

·3· · ·were to inform you that they intend to use CB-80

·4· · ·in a store, is there anything in your role as

·5· · ·quality assurance manager that you would typically

·6· · ·say to guide such an employee in their practices?

·7· · · · · · · · ·MR. MOY:· Objection.

·8· · · · · A.· · ·Yes, there would.

·9· · · · · Q.· · ·What would that be?

10· · · · · A.· · ·I would remind them of the food

11· · ·safety manual and the Starbucks protocol.

12· · · · · Q.· · ·Did you ever encourage any Starbucks

13· · ·employees to use any pesticide in an unapproved

14· · ·manner in Starbucks stores?

15· · · · · A.· · ·What do you mean by "an unapproved

16· · ·manner"?

17· · · · · Q.· · ·I understood that employees are not

18· · ·to use pesticides in Starbucks stores; is that

19· · ·correct?

20· · · · · A.· · ·That's correct.

21· · · · · Q.· · ·Is there any manner in which it is

22· · ·permissible for employees to use pesticides in

23· · ·Starbucks stores?

24· · · · · A.· · ·No, there isn't.

25· · · · · Q.· · ·Did you ever direct any Starbucks


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·2· · ·employees to use pesticides in Starbucks stores?

·3· · · · · A.· · ·I have once, yes.

·4· · · · · Q.· · ·When was that?

·5· · · · · A.· · ·Possibly 2013/2014.· Possibly around

·6· · ·there.· I don't recall the exact date or year.

·7· · · · · Q.· · ·Could you describe that circumstance

·8· · ·or context you're referring to?

·9· · · · · A.· · ·So there was house flies in the

10· · ·store which is not a cleanliness issue and there

11· · ·was -- and that was my solution at the time, but I

12· · ·was wrong and I admitted it.

13· · · · · Q.· · ·Who did you direct to do what in

14· · ·connection with house flies on that occasion?

15· · · · · A.· · ·I spoke with the regional director

16· · ·and discussed it with them, but then afterwards we

17· · ·discussed it again and again and I would reiterate

18· · ·that I was wrong, right, and that I didn't follow

19· · ·the Starbucks policy at that time and that's when

20· · ·we stopped it, too.

21· · · · · Q.· · ·What was the particular chemical at

22· · ·issue then?

23· · · · · A.· · ·CB-80.

24· · · · · Q.· · ·Did you know at the time that you

25· · ·encouraged the use of CB-80 that it was not


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·consistent with Starbucks policy?

·3· · · · · · · · ·MR. MOY:· Objection.

·4· · · · · A.· · ·Was I fully aware?· I was aware,

·5· · ·which is why I said I was wrong.

·6· · · · · Q.· · ·Well, why did you choose to direct

·7· · ·employees to use CB-80?

·8· · · · · A.· · ·Because I was trying to solve the

·9· · ·problem, but I did it in the wrong manner and I

10· · ·learned my lesson from it.

11· · · · · Q.· · ·Subsequent to that event, did you

12· · ·ever have any communications with any Starbucks

13· · ·employees about the use of CB-80 in Starbucks

14· · ·stores?

15· · · · · A.· · ·I have had communication with

16· · ·Starbucks employees about the use of it and that

17· · ·they shouldn't be using it.

18· · · · · Q.· · ·What is the danger -- withdrawn.

19· · · · · · · · ·To your understanding, what is the

20· · ·reason why CB-80 is not allowed in Starbucks

21· · ·stores?

22· · · · · · · · ·MR. MOY:· Objection.

23· · · · · A.· · ·Because Starbucks employees are not

24· · ·allowed to use any pesticides according to the

25· · ·food safety manual.


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·2· · · · · Q.· · ·Going back to this instance with the

·3· · ·CB-80 and you recognized that you were wrong, was

·4· · ·there a person who brought it to your attention

·5· · ·that the use of CB-80 was not consistent with

·6· · ·Starbucks policy?

·7· · · · · A.· · ·No, it was just my attention

·8· · ·that it was a possibility that if I didn't, more

·9· · ·employees would then go against the Starbucks

10· · ·policies which was not for me to be encouraging.

11· · ·I was meant to uphold the policies and that was

12· · ·the mistake and the lesson that I learned.

13· · · · · Q.· · ·In what form did you the encourage

14· · ·employees to use CB-80; that is, was it spoken

15· · ·words, was it an e-mail, something else?

16· · · · · A.· · ·I believe it was spoken words.

17· · · · · Q.· · ·How long after you spoke those words

18· · ·did you finish the thought process and realize

19· · ·that this may be a problem and correct your

20· · ·guidance to those employees?

21· · · · · A.· · ·It wasn't that long after.

22· · · · · Q.· · ·Was it the same day?

23· · · · · A.· · ·No, it was not the same day; but I

24· · ·couldn't tell you exactly how many days or weeks

25· · ·or months; but it certainly wasn't a long time.


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·2· · · · · Q.· · ·What was the location specifically?

·3· · · · · A.· · ·I couldn't tell you without looking

·4· · ·back in my records.

·5· · · · · Q.· · ·Do you remember who any of the

·6· · ·employees involved were?

·7· · · · · A.· · ·Not at this time.· We're talking many

·8· · ·years ago.

·9· · · · · Q.· · ·Did you give any guidance to the

10· · ·employees on that occasion as to how to go about

11· · ·procuring the CB-80?· In other words, did you tell

12· · ·them where to buy it, did you tell them whose

13· · ·money to use, anything like that?

14· · · · · · · · ·MR. MOY:· Objection.

15· · · · · A.· · ·The money used, I don't know anything

16· · ·about.· Where to buy it, no, I didn't.· It's not

17· · ·that I remember that I did.

18· · · · · Q.· · ·As far as you know, did the employees

19· · ·actually use the CB-80 between the time when you

20· · ·encouraged it and the time you corrected yourself?

21· · · · · A.· · ·I --

22· · · · · · · · ·MR. MOY:· Objection.

23· · · · · A.· · ·I did not observe it.

24· · · · · Q.· · ·Did anybody inform you that in that

25· · ·interval it had been used?


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·2· · · · · A.· · ·No, they did not.

·3· · · · · Q.· · ·Did you ask?

·4· · · · · A.· · ·No, I did not.

·5· · · · · Q.· · ·Was there a particular reason why you

·6· · ·didn't ask to confirm if it had been used or not?

·7· · · · · A.· · ·Yeah, there was no reason.· I just

·8· · ·didn't follow up on it.· So if the issue was still

·9· · ·persistent, they would have contacted me.

10· · · · · Q.· · ·Other than what you've already

11· · ·mentioned, can you recall any other interactions

12· · ·or communications with Rafael Fox?

13· · · · · A.· · ·No, I can't.

14· · · · · Q.· · ·What about with Jill Shwiner?

15· · · · · A.· · ·Joel or Jill?

16· · · · · Q.· · ·Jill.

17· · · · · A.· · ·Jill, yes.

18· · · · · Q.· · ·In what context did you interact with

19· · ·her?

20· · · · · A.· · ·I -- I've interacted with Jill via

21· · ·phone, e-mail, and I've toured with Jill as well.

22· · ·I must have met her at stores, too.

23· · · · · Q.· · ·And Paul D'Auria?

24· · · · · A.· · ·Paul, I don't remember if I met him

25· · ·once when I was touring with a -- with Jill or


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·2· · ·not; but I do remember that someone came over and

·3· · ·I think needed -- someone needed to drop something

·4· · ·off to her, so -- but I'm not sure if I recall

·5· · ·meeting him or not.

·6· · · · · Q.· · ·Did you exchange e-mails with him,

·7· · ·that you can remember?

·8· · · · · A.· · ·With Paul, no.· Only with Jill.

·9· · · · · Q.· · ·Did you have an understanding of what

10· · ·Paul's job was in connection with Starbucks?

11· · · · · A.· · ·Paul worked for AVP as a pest

12· · ·applicator.

13· · · · · Q.· · ·Is a pest applicator the same as a

14· · ·pest control technician?

15· · · · · A.· · ·Uh-huh, yes.

16· · · · · Q.· · ·Is one of them more official than the

17· · ·other or are those interchangeable words?

18· · · · · A.· · ·Interchangeable words.

19· · · · · Q.· · ·What was AVP's role in connection

20· · ·with your work in Starbucks?

21· · · · · A.· · ·So my connection -- AVP's role with

22· · ·my connection in Starbucks is that -- as I said,

23· · ·my role and responsibility dealt with the Health

24· · ·Department.· The Health Department deals with pest

25· · ·issues, so in a way my role overlaps slightly with


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·2· · ·facilities when it comes to pest issues.

·3· · · · · Q.· · ·Was it your understanding that AVP

·4· · ·was contracted to provide pest control services at

·5· · ·certain Starbucks stores in Manhattan?

·6· · · · · A.· · ·Yes, it was.

·7· · · · · Q.· · ·Do you know during what period of

·8· · ·years within your tenure they provided those

·9· · ·services?

10· · · · · A.· · ·I couldn't be -- I couldn't tell you

11· · ·exactly what period.· I don't manage in those

12· · ·facilities.

13· · · · · Q.· · ·Who was the -- who do you believe is

14· · ·the most likely person to have been responsible

15· · ·for managing them in facilities, is there an

16· · ·individual?

17· · · · · · · · ·MR. MOY:· Objection.

18· · · · · A.· · ·It would have been the facility

19· · ·manager and the senior facility manager.

20· · · · · Q.· · ·In your role as quality assurance

21· · ·director, did you ever provide instructions or

22· · ·directions to AVP concerning how they do their

23· · ·jobs?

24· · · · · · · · ·MR. MOY:· Objection.

25· · · · · A.· · ·So I've -- I spoke with Jill quite a


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·2· · ·few times and, yes, we discussed treatment

·3· · ·options.

·4· · · · · Q.· · ·Did you ever have involvement in the

·5· · ·decision to discontinue AVP services at Starbucks?

·6· · · · · A.· · ·Again, the facility -- the senior

·7· · ·facility manager manages that vendor, so I have no

·8· · ·decision in that process at all.

·9· · · · · Q.· · ·Do you know who replaced AVP at the

10· · ·stores in Manhattan?

11· · · · · A.· · ·There has been a few different

12· · ·companies, but who replaced AVP in certain stores

13· · ·again I don't know.

14· · · · · Q.· · ·As far as you know, has any outside

15· · ·pest control vendor ever been determined to have

16· · ·placed Hot Shots in stores?

17· · · · · A.· · ·I remember Ecolab, but I'm not sure

18· · ·if it was Hot Shots per se.· I've got to -- again,

19· · ·I'm not a hundred percent sure.

20· · · · · Q.· · ·Is Eco -- I'm sorry, I didn't mean to

21· · ·speak over you if you were still answering.

22· · · · · A.· · ·No, go ahead.

23· · · · · Q.· · ·Is Ecolab a pest control vendor?

24· · · · · A.· · ·Ecolab was our pest control vendor,

25· · ·yes.


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·2· · · · · Q.· · ·Is there something that you're

·3· · ·familiar with called EcoSure?

·4· · · · · A.· · ·Yes, absolutely.

·5· · · · · Q.· · ·What is that?

·6· · · · · A.· · ·EcoSure is our third-party auditor.

·7· · ·So the QA, the quality assurance team, we manage

·8· · ·EcoSure.

·9· · · · · Q.· · ·Could you describe the process of

10· · ·their audits; what's they're auditing for, how

11· · ·often they do it?

12· · · · · A.· · ·So it has changed, but when I first

13· · ·started with Starbucks they audited the stores

14· · ·twice a year; and they're auditing it, again, on

15· · ·our facilities' cleanliness and food safety

16· · ·standards.

17· · · · · Q.· · ·Would they generate a report of some

18· · ·sort for the stores that they audited?

19· · · · · A.· · ·Yes, they do.

20· · · · · Q.· · ·Is that --

21· · · · · A.· · ·Pardon me?

22· · · · · Q.· · ·I -- I made a mistake again.         I

23· · ·started talking before you had completely

24· · ·finished.· I'd -- I would like to get your full

25· · ·answers.


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·2· · · · · A.· · ·They do generate a report.· They used

·3· · ·to print it up and hand it to the store onsite.

·4· · · · · Q.· · ·Would that also be sent to your

·5· · ·attention?

·6· · · · · A.· · ·No.· Back then it wasn't sent to my

·7· · ·attention, but I had access to the Ecolab and

·8· · ·EcoSure website where I routinely went in there

·9· · ·and looked at them.

10· · · · · Q.· · ·And then at some point did that

11· · ·change in terms of handing it to store managers

12· · ·and you're looking up in the database?

13· · · · · A.· · ·The system did change.· We went

14· · ·digital, so they no longer printed it up.· They

15· · ·just e-mail in 24 hours and I'm part of that

16· · ·e-mail chain.

17· · · · · Q.· · ·Do you review the audits that are

18· · ·e-mailed to you?

19· · · · · A.· · ·I don't review every single one, but

20· · ·I do pull reports every month.

21· · · · · Q.· · ·Has EcoSure noted or cited any of the

22· · ·Starbucks stores in Manhattan for improper

23· · ·pesticide use, as far as you know?

24· · · · · A.· · ·I would have to go back and check the

25· · ·reports, but from my memory right now I couldn't


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·tell you.

·3· · · · · Q.· · ·Do you have any memory of being

·4· · ·involved at all in following up on any information

·5· · ·from EcoSure about the use of pesticide in

·6· · ·Starbucks stores?

·7· · · · · A.· · ·No, I don't remember following up.          I

·8· · ·don't remember reading it, but without going back

·9· · ·and checking it so -- I mean, we're talking about

10· · ·seven years' worth now.

11· · · · · Q.· · ·I'm going to post another exhibit,

12· · ·this one is labeled Exhibit Kranz 47.· It's a

13· · ·two-page document Bates numbered DEF 17223 to 24.

14· · ·When I post it, Mr. Kranz, I would ask that you

15· · ·open it and begin reviewing it while the court

16· · ·reporter does the marking.

17· · · · · A.· · ·Understood.

18· · · · · · · · ·(Whereupon, Kranz Exhibit 47 was

19· · · · · marked at this time.)

20· · · · · A.· · ·Okay.

21· · · · · Q.· · ·First of all, I will note for the

22· · ·record it appears to me, I don't want to be hiding

23· · ·the ball, you were cc'd on the e-mail at the top

24· · ·which was the end of the chain.

25· · · · · A.· · ·Okay.


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·2· · · · · Q.· · ·Do you recall receiving this e-mail?

·3· · · · · A.· · ·I actually don't recall receiving

·4· · ·this e-mail.

·5· · · · · Q.· · ·The e-mail that starts around the

·6· · ·middle of the first page was addressed by

·7· · ·Jillavptermite@aol.com on September 15, 2016 to a

·8· · ·Margaret Kis, do you know who that person is?

·9· · · · · A.· · ·Yes, I know Margaret Kis.

10· · · · · Q.· · ·What position did she have in 2016,

11· · ·if you know?

12· · · · · A.· · ·She's a facilities manager and she

13· · ·was back then too.

14· · · · · Q.· · ·In that e-mail it starts "Hi,

15· · ·Margaret.· I just got a call from Paul.· He was

16· · ·about to service Store 15359 and noticed they were

17· · ·locking up, so he waited for them to leave.· He

18· · ·then entered the store and walked into a face full

19· · ·of two bug bombs the store had just set off.· The

20· · ·store had no warning signs posted and also did not

21· · ·cover any surfaces, so everything including food,

22· · ·utensils, equipment should be washed down and any

23· · ·food products condiments should be disposed of."

24· · · · · · · · ·Mr. Kranz, do you have an

25· · ·understanding maybe in the industry what a bug


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·2· · ·bomb is?· Does that have a standardized meaning?

·3· · · · · · · · ·MR. MOY:· Objection.

·4· · · · · A.· · ·I can only tell you from my

·5· · ·experience about what that means.

·6· · · · · Q.· · ·What does it mean in your experience?

·7· · · · · A.· · ·In my experience would be a can that

·8· · ·you set and it disperses a pesticide.

·9· · · · · Q.· · ·Are there any devices like that that

10· · ·are permissible for employees to use in Starbucks

11· · ·stores?

12· · · · · A.· · ·No, there is not.

13· · · · · Q.· · ·I know you've indicated you don't

14· · ·remember the specific e-mail.· Do you remember the

15· · ·events that are described in the e-mail, at least

16· · ·the part that I read?

17· · · · · A.· · ·No, I don't.

18· · · · · Q.· · ·Do you have any information at all

19· · ·about whether there was or wasn't any followup on

20· · ·this particular e-mail?

21· · · · · A.· · ·I couldn't tell you.· I -- I don't

22· · ·even remember the incident happening.· I don't

23· · ·remember the e-mail.· Sorry.

24· · · · · Q.· · ·In that case, we can put it aside.

25· · · · · A.· · ·Okay.


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·2· · · · · Q.· · ·I've just posted a document labeled

·3· · ·Exhibit Kranz 2.· It's a one-page document Bates

·4· · ·number Defendant 1371.· And again, Mr. Kranz, if

·5· · ·you can, open it and read it while the court

·6· · ·reporter marks it.

·7· · · · · · · · ·(Whereupon, Kranz Exhibit 2 was

·8· · · · · marked at this time.)

·9· · · · · A.· · ·Okay.

10· · · · · Q.· · ·Mr. Kranz, do you remember this

11· · ·e-mail chain?

12· · · · · A.· · ·I remember the incident, yes.

13· · · · · Q.· · ·What do you remember of this

14· · ·incident, if you could describe in your own words?

15· · · · · A.· · ·So the store -- I don't remember all

16· · ·the violations.· The store failed Department of

17· · ·Health.· I don't remember all the violations, but

18· · ·I do remember there was a rodent issue and that

19· · ·was one of the citations that they got.

20· · · · · Q.· · ·Toward the top, but not the very

21· · ·first, the second e-mail in the chain is sent on

22· · ·November 22nd, 2016, 8:36 a.m., Rami Kranz, and

23· · ·there's an e-mail address.· Is that your Starbucks

24· · ·e-mail address?

25· · · · · A.· · ·That is, yes.


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·2· · · · · Q.· · ·Do you recognize the text below that

·3· · ·as an e-mail that you wrote?

·4· · · · · A.· · ·Yes, I do.

·5· · · · · Q.· · ·A couple of questions about some of

·6· · ·the language in the bullet.· The second to the

·7· · ·last bullet in that e-mail you wrote, "We are

·8· · ·restricted to what we can do legally."· Could you

·9· · ·explain what you're referring to?

10· · · · · A.· · ·Absolutely.· So we weren't allowed to

11· · ·use any pesticide, but I did have a plan that I

12· · ·learned when I was in Victoria Fine Foods from the

13· · ·pest control technician there, but that plan was

14· · ·not something that we could do before the

15· · ·Department of Health reinspected us.

16· · · · · · · · ·So the plan basically was set up 20

17· · ·snap traps, bait them but not set them, and wait

18· · ·for the seven days and let the rodents get used to

19· · ·eating out of those snap traps, and then on the

20· · ·seventh date we bait them and we set them and then

21· · ·you catch everything in the store; but again they

22· · ·were on a high risk of a second audit, so it was

23· · ·not something -- so we did not have the time for

24· · ·it which is what that bullet was, we were

25· · ·restricted with what we could do legally, you


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·2· · ·know; but if you read at the top too, you know,

·3· · ·"We can step up pest control to daily."

·4· · · · · · · · ·So, you know, I spoke about and I

·5· · ·coached Selena, who was the district manager,

·6· · ·right, on maintaining a high level of cleanliness

·7· · ·in the store, right, maintaining the Starbucks

·8· · ·procedures, Starbucks policy, you know, of how to

·9· · ·keep the stores, right, especially under the

10· · ·counter.· So what we were trying to do is we're

11· · ·trying to help pest control by keeping the store

12· · ·clean.

13· · · · · Q.· · ·Could I ask you to read for the

14· · ·record the last bullet, the one immediately after

15· · ·the one I just read.

16· · · · · A.· · ·"After the inspection, I have a plan

17· · ·with Selena to raise this to drastic levels and

18· · ·deal with the rodent issues."

19· · · · · Q.· · ·What are you referring to in that

20· · ·bullet?

21· · · · · A.· · ·I'm referring to my plan with the

22· · ·snap traps.· So that we were going to set up 20

23· · ·snap traps, bait them but not set them, get the

24· · ·rodents used to eating off of them, and then on

25· · ·the seventh day we bait and we set them all off,


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·and -- set the snap traps and then we'll catch

·3· · ·everything.· That's the drastic levels that we can

·4· · ·do because I was actually going to ask not only

·5· · ·pest control, but ask that the store partners

·6· · ·don't dispose of them either, the snap traps that

·7· · ·is.

·8· · · · · Q.· · ·Are store partners allowed to

·9· · ·manipulate or remove or move pest control devices

10· · ·placed by vendors?

11· · · · · · · · ·MR. MOY:· Objection.

12· · · · · A.· · ·You're asking me are they allowed?

13· · · · · Q.· · ·Yes.· So I understood from your prior

14· · ·answers, they're not allowed to place such

15· · ·devices.· I'm asking:· Are they allowed to modify

16· · ·them or move them or touch them?

17· · · · · A.· · ·There's no regulation on --

18· · · · · · · · ·MR. MOY:· Objection.

19· · · · · A.· · ·There's no regulation about that, so

20· · ·it's -- in the process of cleaning if they happen

21· · ·to damage one, yes, they can throw it out.

22· · · · · Q.· · ·Is that a written policy?

23· · · · · A.· · ·No.· That's what I said, there's no

24· · ·policy on that.· We're not allowed to use any

25· · ·pesticides, but there's no policy on what happens


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·2· · ·if we -- you know, we see a snap trap that gets

·3· · ·caught in a broom, you know, when you're sweeping

·4· · ·underneath.

·5· · · · · Q.· · ·When that happens, is there any

·6· · ·direction or guidance as far as what employees

·7· · ·should due to notify anyone or there's just no

·8· · ·policy there?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · A.· · ·So officially, no, there isn't.· What

11· · ·I would coach is that just put it to the side and

12· · ·leave a note for the pest vendors and let them

13· · ·know, you know, where it is; and that's if we're

14· · ·talking snap traps, just to be clear.

15· · · · · Q.· · ·With respect to Hot Shots if an

16· · ·employee at a store discovers that a Hot Shot is

17· · ·present, do you know if Starbucks has any rules or

18· · ·guidelines as to what that employee should do?

19· · · · · A.· · ·There are no rules or guidelines

20· · ·because we're not allowed to put the pesticide

21· · ·there.

22· · · · · Q.· · ·So if an employee sees that it is

23· · ·there --

24· · · · · A.· · ·Yes.

25· · · · · Q.· · ·-- to your understanding is there a


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·2· · ·process they're supposed to initiate?

·3· · · · · A.· · ·I haven't seen a process officially

·4· · ·in any of the -- in any of the Starbucks

·5· · ·guidelines, no.

·6· · · · · Q.· · ·Have you ever given instructions to

·7· · ·employees as to how they should respond if they

·8· · ·discover such a device in their store?

·9· · · · · A.· · ·When asked by operations, my

10· · ·advice has always been grab a rubbish bag, grab

11· · ·the -- you know, the pesticide, put it in, you

12· · ·know, holding the rubbish bag, tie a knot, and

13· · ·dispose of it in the rubbish bin.

14· · · · · Q.· · ·Are there any legal or Health

15· · ·Department standards that bear on how to

16· · ·permissibly safely dispose of Hot Shots?

17· · · · · A.· · ·There are legal requirements, but not

18· · ·Health Department requirements.· It's the Label

19· · ·law.· So on the label of the product would tell

20· · ·you how to dispose of them.

21· · · · · Q.· · ·And you just referred to or used a

22· · ·phrase "label law" and what are you referring to,

23· · ·what is that phrase?

24· · · · · A.· · ·On all pesticides, there's a label;

25· · ·and any pest control technician, you know, when


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·2· · ·you go through the course will learn that the

·3· · ·label is the law that you have to follow.

·4· · · · · Q.· · ·With respect to Hot Shots as far as

·5· · ·you can remember as you sit here today, did the

·6· · ·label give any guidance on safe disposal?

·7· · · · · · · · ·MR. MOY:· Objection.

·8· · · · · A.· · ·I believe it has to so, yes; and from

·9· · ·my memory from back then, you were safe to dispose

10· · ·of in the regular like rubbish bin.

11· · · · · Q.· · ·Is that still your understanding as

12· · ·you sit here today, that it's safe to just throw

13· · ·it in the trash?

14· · · · · A.· · ·I believe so.· I mean, I'll have to

15· · ·review the label to, you know, determine a hundred

16· · ·percent, but I do remember that it was safe to

17· · ·dispose of in the rubbish bin, you know.

18· · · · · Q.· · ·Are there other pesticides that

19· · ·you're familiar with having been used at Starbucks

20· · ·stores in Manhattan that are not safely disposable

21· · ·in normal garbage bins?

22· · · · · A.· · ·Not that I know of.

23· · · · · · · · ·MR. MOY:· Objection.

24· · · · · Q.· · ·Are there any restrictions, that you

25· · ·know of, on how to dispose of CB-80?


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·2· · · · · A.· · ·I don't remember if there are or not.

·3· · ·I'll have to look at the label to refresh my

·4· · ·memory.

·5· · · · · Q.· · ·I'm posting another document.· This

·6· · ·is Exhibit Kranz 46.· It is a three-page e-mail

·7· · ·chain bearing Bates numbers DEF 126 to 128.         I

·8· · ·again ask you, Mr. Kranz, if you could open and

·9· · ·review the document while the court reporter marks

10· · ·it and let me know when you're done.

11· · · · · A.· · ·Okay.

12· · · · · · · · ·(Whereupon, Kranz Exhibit 46 was

13· · · · · marked at this time.)

14· · · · · A.· · ·I'm good.

15· · · · · Q.· · ·Mr. Kranz, do you recognize all or

16· · ·any part of this document?

17· · · · · A.· · ·I do.

18· · · · · Q.· · ·Do you recall having seen this chain

19· · ·at or about the date that it was sent -- actually,

20· · ·let me break it down a little bit more.

21· · · · · · · · ·On the first page, on the top half of

22· · ·the page this appears -- please correct me, it

23· · ·appears to be an e-mail to you from the company's

24· · ·inhouse counsel on February 26, 2019.· The body

25· · ·says, "Stephen Gallant on 8/2016."· Was that just


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·you forwarding the e-mail chain to company

·3· · ·counsel?

·4· · · · · A.· · ·That is correct upon a request, yeah.

·5· · · · · Q.· · ·Okay, and I don't want to talk about

·6· · ·counsel.

·7· · · · · · · · ·Let's jump down though to the

·8· · ·original chain that you forwarded, which is from

·9· · ·Stephen Gallant on August 2nd, 2016 to you

10· · ·"Subject:· Forward to Dichlorvos No-Pest Strips."

11· · ·Mr. Kranz, do you remember from this point to the

12· · ·bottom having received and read it on or about

13· · ·August 2nd, 2016?

14· · · · · A.· · ·I remember receiving this e-mail,

15· · ·yes, and the other e-mail, correct.

16· · · · · Q.· · ·Stephen's e-mail states "Rami, we

17· · ·have passed on to ops not to use these pest

18· · ·strips.· It might have more weight coming from

19· · ·you.· Stephen Gallant."· Mr. Kranz, do you have an

20· · ·understanding about what he meant as far as "have

21· · ·more weight coming from you."

22· · · · · A.· · ·So I can't --

23· · · · · · · · ·MR. MOY:· Objection.

24· · · · · A.· · ·So I can't say exactly what Stephen,

25· · ·you know, was thinking back then.· I can tell you


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·2· · ·from my side of the story what I -- what I saw

·3· · ·when I first started with Starbucks.· I can

·4· · ·explain that, but I can't tell you what Stephen

·5· · ·was writing.

·6· · · · · Q.· · ·Of course I'm asking for what your

·7· · ·interpretation was in your own mind as you read

·8· · ·his words.

·9· · · · · A.· · ·So facilities went through a change

10· · ·around 2017, and what I mean by "a change" was

11· · ·when I was started with Starbucks they -- they

12· · ·didn't have the -- they didn't have the voice with

13· · ·the operations team like QA did at the time.· So I

14· · ·know that -- I know that, you know, especially

15· · ·when it came to Health Department issues, you

16· · ·know, I had more voice with operations, but that's

17· · ·my side; so what he meant by "more weight" I'm not

18· · ·sure, but I know what I saw when I first started.

19· · · · · Q.· · ·Did you understand that Mr. Gallant

20· · ·was asking you to do anything in particular?

21· · · · · A.· · ·What I understood was Mr. Gallant

22· · ·just wanted me to emphasize, you know, the point

23· · ·that he made with the operation leadership team.

24· · ·That was my understanding of it.

25· · · · · Q.· · ·Did you do that?


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·2· · · · · A.· · ·Absolutely.· I -- I was on the

·3· · ·leadership team every -- every week, so every

·4· · ·Monday I met with the regional vice president and

·5· · ·the four HDs at the time.· I'd -- the assistant

·6· · ·was also there and I brought this up and I

·7· · ·mentioned it; and then Ross also, you know,

·8· · ·emphasized the point where he did not want to see

·9· · ·anything and that's what started, you know,

10· · ·everything.· That's what started me, you know,

11· · ·joining the regional directors huddle with their

12· · ·district managers and emphasizing the point and

13· · ·then the regional director emphasizing it again on

14· · ·top of me.

15· · · · · · · · ·I also joined, you know, some

16· · ·district manager huddles, not all of them, where

17· · ·we emphasized the point to the store managers; and

18· · ·I also included into the shift safety workshops

19· · ·that I did once a month and we emphasized it there

20· · ·as well.

21· · · · · · · · ·So, I mean, the minute it was brought

22· · ·to our attention, I mean, we really -- you know,

23· · ·we really took it as very serious and we started

24· · ·speaking to everyone, and I can tell you the

25· · ·leadership team was all onboard about getting the


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·2· · ·message out and not to use this at all.

·3· · · · · Q.· · ·And within what period of time had

·4· · ·those actions resolved the problem of Hot Shots in

·5· · ·stores?

·6· · · · · · · · ·MR. MOY:· Objection.

·7· · · · · A.· · ·I can't tell you.· It says Tuesday,

·8· · ·so it would have already started that following

·9· · ·Monday.· So I would have spoken to them, but the

10· · ·official meeting would have been on Monday and

11· · ·that's -- it just started and then every week,

12· · ·I -- I was bringing it up just to make sure that

13· · ·it was emphasized.

14· · · · · Q.· · ·At some point in the course of doing

15· · ·all of that emphasis, did you feel confident that

16· · ·the message had gotten through and that the

17· · ·problem was handled?

18· · · · · A.· · ·I felt confident that the message had

19· · ·got through.· That the problem was solved, I

20· · ·can't -- I couldn't answer that because I don't go

21· · ·into -- I'm confident that the message got

22· · ·through.· I can't be confident that the problem

23· · ·was resolved because I wasn't in every store to

24· · ·follow up.· I was only in select· · · · · ·stores

25· · ·with the district managers and some· ·direct --


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·regional directors.

·3· · · · · Q.· · ·Did you make any inquiries of anyone

·4· · ·in operations or elsewhere at the company to

·5· · ·ascertain whether --

·6· · · · · · · · ·MR. GRAFF:· Let's go off the record.

·7· · · · · · · · ·(Whereupon, a brief discussion was

·8· · · · · held off record.)

·9· · · · · Q.· · ·Mr. Kranz, before the stretch break I

10· · ·had been asking you whether you ever followed up

11· · ·with operations management to determine whether

12· · ·your efforts to spread the word about Hot Shots

13· · ·had been successful.· Did you make such inquiries?

14· · · · · A.· · ·Well, with the district managers I

15· · ·spoke to them about it.· I spoke to -- with the

16· · ·regional directors during our one on ones.

17· · · · · Q.· · ·Did they advise you that Hot Shots

18· · ·had been resolved as a going problem?

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·They advised me that -- that they'd

21· · ·been speaking about it and it was a priority to

22· · ·them and that they'd been speaking about it with

23· · ·their team and advised their team to keep, you

24· · ·know, pushing it down all the way down to the

25· · ·barista level and advised everyone it was not


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·Starbucks standards to use them.

·3· · · · · Q.· · ·Was there ever any communication that

·4· · ·you were a part of about whether efforts that were

·5· · ·being made were sufficient to deter the misuse of

·6· · ·Hot Shots in stores?

·7· · · · · · · · ·MR. MOY:· Objection.

·8· · · · · A.· · ·I remember one e-mail from Ron

·9· · ·Schuler who was a regional director that confirmed

10· · ·that the message was being handed out; and it was

11· · ·also not an e-mail, but in the leadership team,

12· · ·you know, I also got confirmation that they'd been

13· · ·mentioning it with their team every time the

14· · ·regional directors were out in stores.

15· · · · · Q.· · ·Do you have any information from any

16· · ·source as to whether anyone at the company ever

17· · ·conducted an investigation to determine the origin

18· · ·of any particular Hot Shot in the Starbucks store?

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·Can you just repeat that one more

21· · ·time, please; do I have any --

22· · · · · Q.· · ·I'll ask something different.· As

23· · ·far as you know, did Starbucks ever identify

24· · ·specifically any individual who had placed a Hot

25· · ·Shot in a store?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · · · · ·MR. MOY:· Objection.

·3· · · · · A.· · ·That's out of my role and

·4· · ·responsibilities, so that's part of operations.

·5· · ·I'm not privy to that information.

·6· · · · · Q.· · ·In terms of what has been

·7· · ·communicated to you, if anything, in the course of

·8· · ·your work, to your knowledge has Starbucks

·9· · ·identified who was responsible for placing any

10· · ·particular Hot Shot in a store?

11· · · · · A.· · ·Again, it's not my role and

12· · ·responsibility so, no, I'm not part of that chain.

13· · ·They wouldn't be telling me.· I'm a coach or a

14· · ·consultant to them on food safety issues,

15· · ·cleanliness issues, Health Department issues,

16· · ·pests because that overlaps with the Health

17· · ·Department and facilities.· So I'm a coach and

18· · ·consultant, but I don't know anything more

19· · ·about if they've identified anything.

20· · ·It -- it's not part of my role and

21· · ·responsibility.

22· · · · · Q.· · ·Did anyone ever communicate to you

23· · ·that they were unable to determine who was

24· · ·responsible for placing a Hot Shot in the store?

25· · · · · · · · ·MR. MOY:· Objection.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·I don't recall, but it's -- I really

·3· · ·don't recall.· It's possible, but again I may have

·4· · ·been on an e-mail chain; but that's what I don't

·5· · ·recall.

·6· · · · · Q.· · ·Turning back into the document, we

·7· · ·had been looking at the e-mail that Jill Shwiner

·8· · ·sent on August 1st, 2016 that's on the second page

·9· · ·of this exhibit.

10· · · · · A.· · ·Yes, 2016, here you go.· Yes.

11· · · · · Q.· · ·Jill wrote -- in the first long

12· · ·paragraph Ms. Shwiner wrote, "We occasionally find

13· · ·them, Hot Shots, in some stores but recently there

14· · ·has been an increase in the amount of stores we

15· · ·find them in."

16· · · · · · · · ·Mr. Kranz, did you ever reach out to

17· · ·Ms. Shwiner to get any further information about

18· · ·where she was finding Hot Shots?

19· · · · · A.· · ·I have spoken to Jill about that and

20· · ·Jill e-mailed me and we've spoken about it, yes.

21· · · · · Q.· · ·Okay, and when you were forwarded

22· · ·this e-mail where she said "recently there has

23· · ·been an increase in the amount of stores we find

24· · ·them in," did you discuss that specific statement

25· · ·in her e-mail with her at or around the time you


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·read it?

·3· · · · · A.· · ·I don't recall if I had a

·4· · ·conversation specifically regarding that with Jill

·5· · ·around that time.· I do recall, though, that I did

·6· · ·have a specific conversation about that with the

·7· · ·operation leadership team.

·8· · · · · Q.· · ·The next paragraph begins, "We

·9· · ·generally find them on top of the cabinets or

10· · ·below the FOH counters."· In this context, do you

11· · ·know what "FOH" refers to?

12· · · · · A.· · ·Front of house.

13· · · · · Q.· · ·On the occasion that you had been

14· · ·relating when you were present and watched the

15· · ·health inspector conduct an inspection in the

16· · ·store, did the inspector get up on a ladder and

17· · ·look above the tops of cabinets as part of the

18· · ·inspection that you observed?

19· · · · · A.· · ·The heath inspector had not gone on

20· · ·top of ladders that I've ever seen.

21· · · · · Q.· · ·What about under the front of house

22· · ·sink; was any part of the inspection that you

23· · ·observed focused on that?

24· · · · · A.· · ·Absolutely.

25· · · · · Q.· · ·After this e-mail, when is the next


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·2· · ·specific time that you can remember being informed

·3· · ·that a Hot Shot had again been found in a store?

·4· · · · · A.· · ·I can't recall.· I mean, this

·5· · ·is -- this is actually more than four years ago.

·6· · ·I don't recall specifically what time or the date.

·7· · · · · Q.· · ·Do you believe that there were

·8· · ·subsequent occasions where you were told about Hot

·9· · ·Shots in stores beyond the date of this e-mail?

10· · · · · A.· · ·By who?

11· · · · · Q.· · ·Anyone.

12· · · · · A.· · ·Yes.

13· · · · · Q.· · ·Was that something that you would be

14· · ·notified about periodically, but on a relatively

15· · ·consistent ongoing basis or something else?

16· · · · · · · · ·MR. MOY:· Objection.

17· · · · · A.· · ·No, it was not something that I was

18· · ·regularly informed of.

19· · · · · Q.· · ·Did you, yourself, come to the

20· · ·conclusion or form a belief that the problem was

21· · ·at any point in time waxing or weaning in terms of

22· · ·its severity?

23· · · · · · · · ·MR. MOY:· Objection.

24· · · · · A.· · ·I hadn't come to that conclusion.         I

25· · ·actually haven't come to any conclusion.· When I


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·was in stores with district managers and regional

·3· · ·directors, I was still keeping an eye out for it.

·4· · ·I still do today.

·5· · · · · Q.· · ·Have you personally observed a Hot

·6· · ·Shot in a store while physically there?

·7· · · · · A.· · ·Yes, I have.

·8· · · · · Q.· · ·When is the most recent time?

·9· · · · · A.· · ·I have not found one in -- that I can

10· · ·recall in probably about two-and-a-half, three

11· · ·years.

12· · · · · Q.· · ·So, approximately, do you remember

13· · ·the month or year of the last time?

14· · · · · A.· · ·Not at all.

15· · · · · Q.· · ·Do you remember where you found it?

16· · · · · A.· · ·No, don't even remember that.· It's

17· · ·been that long ago.

18· · · · · Q.· · ·Do you remember any other occasions

19· · ·when you personally observed a Hot Shot in a

20· · ·Starbucks store?

21· · · · · A.· · ·There has been a couple of occasions

22· · ·where I found them personally, yes.

23· · · · · Q.· · ·When is the most recent occasion,

24· · ·that you can remember?

25· · · · · A.· · ·That was what I just recalled that I


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·2· · ·just spoke to you about.· It was about two years

·3· · ·ago, two-and-a-half years ago.

·4· · · · · Q.· · ·And you don't remember the store

·5· · ·location specifically?

·6· · · · · A.· · ·No, I go to a lot of stores.· I don't

·7· · ·remember the store location or where I even like

·8· · ·found it in the store.· It's that long ago.

·9· · · · · Q.· · ·Do you remember what, if anything,

10· · ·you did when you found it?

11· · · · · A.· · ·Absolutely.· I contacted Tracy

12· · ·straightaway.· The district manager was there and

13· · ·I contacted the regional director, right, and just

14· · ·informed them.

15· · · · · · · · ·MR. MOY:· Can you clarify who Tracy

16· · · · · is.

17· · · · · · · · ·THE WITNESS:· Oh, Tracy is the

18· · · · · regional vice president.· She took over after

19· · · · · Ross Shadix left.

20· · · · · A.· · ·One thing that I'd like to add too

21· · ·that the last one that I found about two,

22· · ·two-and-a-half years ago was very old.· It had a

23· · ·lot of dust on it.

24· · · · · Q.· · ·Have you ever personally -- apart

25· · ·from the one occasion we talked about early on in


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·your tenure where you had encouraged CB-80,

·3· · ·putting that aside --

·4· · · · · · · · ·MR. MOY:· Objection.

·5· · · · · · · · ·MR. GRAFF:· That wasn't a question.

·6· · · · · Q.· · ·-- did you at any point yourself

·7· · ·observe CB-80 present in any Starbucks store?

·8· · · · · A.· · ·No, I haven't.

·9· · · · · Q.· · ·Is that something you also check for

10· · ·on your store visits?

11· · · · · A.· · ·Part of our store visits and back

12· · ·in -- prior to 2018 we were looking for

13· · ·unauthorized -- like unauthorized chemicals, and

14· · ·that's not just pesticides.· That could also be

15· · ·Ice Melt that wasn't purchased from Starbucks, it

16· · ·could be Apple Cider Vinegar.· Anything we haven't

17· · ·purchased from Starbucks is considered an

18· · ·unauthorized chemical.

19· · · · · Q.· · ·Are you familiar with a product

20· · ·called D-Force?

21· · · · · A.· · ·Yes.

22· · · · · Q.· · ·What is it?

23· · · · · A.· · ·D-Force is very similar to CB-80 in

24· · ·that it's an aerosol pesticide.

25· · · · · Q.· · ·Did EcoSure ever in its audits make


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·2· · ·any notations about the use of CB-80 in Starbucks

·3· · ·stores?

·4· · · · · A.· · ·Not that I observed.

·5· · · · · Q.· · ·Is that something that EcoSure would

·6· · ·generally, as part of their audits, be on the

·7· · ·lookout for?

·8· · · · · · · · ·MR. MOY:· Objection.

·9· · · · · A.· · ·They would also be looking out for

10· · ·unapproved products.

11· · · · · Q.· · ·I'm posting a two-page document

12· · ·marked Exhibit Kranz 15 bearing Bates numbers DEF

13· · ·139 to 140.

14· · · · · · · · ·(Whereupon, Kranz Exhibit 15 was

15· · · · · marked at this time.)

16· · · · · Q.· · ·Mr. Kranz, do you recognize this

17· · ·document?

18· · · · · A.· · ·Yes, I do.

19· · · · · Q.· · ·What is it?

20· · · · · A.· · ·It's an e-mail from myself to the

21· · ·region -- or the operations leadership team,

22· · ·including the RVP and the RDs and including

23· · ·Jasmine Onumah who was my quality assurance tech

24· · ·back then.

25· · · · · Q.· · ·Just for the record before we get


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·2· · ·into the substance to clarify, the top half of the

·3· · ·first page appears to be an e-mail from you

·4· · ·forwarding the rest of the chain to Robyn Ruderman

·5· · ·on February 6, 2019; is that a correct

·6· · ·interpretation?

·7· · · · · A.· · ·Yes, that's correct.

·8· · · · · Q.· · ·She's the company counsel and you

·9· · ·were forwarding it to her as requested?

10· · · · · A.· · ·Correct.

11· · · · · Q.· · ·Okay.· So putting that part of the

12· · ·e-mail aside, I think your prior response you were

13· · ·describing the e-mail from you on September 29,

14· · ·2017 to a number of individuals.· Who are those

15· · ·individuals; why did you select them as the

16· · ·recipients?

17· · · · · A.· · ·They're the -- so

18· · ·previous --

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·Previously when I was discussing

21· · ·that, I would mention this in the operations

22· · ·leadership team meetings.· This is the operations

23· · ·team.· So these are the regional directors; Alexis

24· · ·Vatucci, Carla Ruffin, Ron Schuler and Kate

25· · ·McShane, and Ross Shadix was the regional vice


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·2· · ·president.· So again my role was coaching,

·3· · ·consulting on anything to do with cleanliness,

·4· · ·food safety, Health Department which also included

·5· · ·pests.

·6· · · · · · · · ·So, again, I was emphasizing, you

·7· · ·know, the point, right, and keeping the

·8· · ·communication fresh in everyone's mind to ensure

·9· · ·that our team knows this is not a Starbucks

10· · ·protocol, right, and that we should not be using

11· · ·it at all.· If they've got a problem, Starbucks

12· · ·has the resources to fix the problem.· So if it's

13· · ·a pest control problem, we've got vendors.· If

14· · ·it's a facilities issue, we also have vendors and

15· · ·handymen to come in and do that.· If it's a

16· · ·cleanliness issue, you know, they've got that; an

17· · ·HVAC issue, we've got people for that.· You know,

18· · ·the store managers shouldn't be, you know, doing

19· · ·this themselves.

20· · · · · Q.· · ·The last thing you just said, "the

21· · ·store managers shouldn't be doing this

22· · ·themselves," what do you mean?

23· · · · · A.· · ·Well, I mean the stores themselves,

24· · ·the partners, right, shouldn't be taking this

25· · ·under themselves as -- as per Starbucks' guidance


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·and protocol, all right.· If they've got a

·3· · ·problem, call the FPC and the pest vendors will

·4· · ·come in and look after it.· It's the store

·5· · ·managers and our partners' responsibility to keep

·6· · ·the store clean, right, and keep the store

·7· · ·according to Starbucks standards.

·8· · · · · Q.· · ·Could I ask you to read the last

·9· · ·sentence on the first page that you wrote here,

10· · ·starts "According."

11· · · · · A.· · ·Yep.· According to the label

12· · ·regulations, partners can only work in a store

13· · ·with the pest strips for no more than four hours.

14· · ·Otherwise, the partners may become ill."

15· · · · · Q.· · ·Why did you write that sentence?

16· · · · · A.· · ·Again, it was --

17· · · · · · · · ·MR. MOY:· Objection.

18· · · · · A.· · ·It was to emphasize my point with

19· · ·regional directors.· Starbucks is all about

20· · ·partner safety, partner care, you know, so

21· · ·everything to do with the partners is very

22· · ·important with the company.· So to emphasize

23· · ·that this, you know, may potentially or could be,

24· · ·you know, something that could, you know, not be

25· · ·healthy for a partner, right, is the way that I


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·2· · ·can emphasize the strength of this.

·3· · · · · Q.· · ·On occasions when Hot Shots were

·4· · ·discovered in Starbucks stores, was there a

·5· · ·notification provided to partners who had worked

·6· · ·in that store to let them know that they may have

·7· · ·had this dangerous exposure to their health?

·8· · · · · · · · ·MR. MOY:· Objection.

·9· · · · · A.· · ·I can't talk about that because I

10· · ·don't know.· Again, that's part of operations.

11· · · · · Q.· · ·Did you ever become aware -- from

12· · ·operations or anything you saw or anything that

13· · ·was told to you, did you ever become aware of a

14· · ·communication to partners notifying them that they

15· · ·may have been exposed to Hot Shots or Dichlorvos?

16· · · · · A.· · ·So I -- I don't recall any

17· · ·communication and I wasn't personally told.

18· · ·Again, it not's part of my role and

19· · ·responsibilities.· Operations would take that.

20· · · · · Q.· · ·Would you expect that operations

21· · ·would have informed partners?

22· · · · · · · · ·MR. MOY:· Objection.

23· · · · · A.· · ·I don't know how to answer that

24· · ·either.

25· · · · · Q.· · ·As you sit here today, do you know


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·2· · ·one way or another whether any Starbucks employees

·3· · ·became ill in connection with Hot Shots?

·4· · · · · A.· · ·I have not heard of any partner

·5· · ·becoming ill with a Hot Shot.

·6· · · · · Q.· · ·And you've never heard of partners

·7· · ·being asked if they felt ill after exposure to Hot

·8· · ·Shots; is that correct?

·9· · · · · A.· · ·Personally, I've never seen anyone

10· · ·being asked that.

11· · · · · Q.· · ·Are you aware of any legal or

12· · ·regulatory standard or guideline for providing

13· · ·notice to employees if they're exposed to hazards

14· · ·in the workplace?

15· · · · · A.· · ·I'm not aware of what the legal

16· · ·requirements are.· It's out of my role and

17· · ·responsibility.

18· · · · · Q.· · ·What, if anything, prompted you to

19· · ·write this e-mail on September 29, 2017?

20· · · · · · · · ·MR. MOY:· Objection.

21· · · · · A.· · ·I don't recall what prompted me, so I

22· · ·don't know what the situation was that prompted me

23· · ·to do that.· That, I don't recall.

24· · · · · Q.· · ·Did you have any discussions with

25· · ·anybody about the substance of your e-mail after


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·2· · ·sending it?

·3· · · · · A.· · ·Yes, I brought it up to the

·4· · ·leadership team like I was doing every week.

·5· · · · · Q.· · ·To the best of your knowledge and

·6· · ·information was there ever a systematic effort

·7· · ·made to search through stores, locate any Hot

·8· · ·Shots, and remove them in a systematic way all at

·9· · ·once?

10· · · · · · · · ·MR. MOY:· Objection.

11· · · · · A.· · ·Systematic way all at once, no, I

12· · ·cannot answer that; but what I can say is that

13· · ·through the communication from the leadership team

14· · ·and through my in-field days with the district

15· · ·managers and the regional directors, there was

16· · ·very high awareness on the Hot Shots and while the

17· · ·operations was in stores they were looking for

18· · ·them.

19· · · · · Q.· · ·Again, is it the case that you have

20· · ·no information as to whether operations ever

21· · ·reached any conclusion as to the source of any

22· · ·particular Hot Shots?

23· · · · · · · · ·MR. MOY:· Objection.

24· · · · · A.· · ·It's very difficult to answer because

25· · ·for argument sake the Hot Shot that I found two,


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·two-and-half years ago was extremely dusty.· I had

·3· · ·no idea how old it was or how even they go back

·4· · ·about trying to track anyone who may have put it

·5· · ·up there.· So it's very difficult to try and

·6· · ·determine who put it up there and to try to

·7· · ·determine the age of the actual product as well.

·8· · · · · Q.· · ·Were you ever informed by anybody

·9· · ·that on any occasions it had been determined that

10· · ·a particular individual put a Hot Shot?

11· · · · · A.· · ·I was never informed about anyone

12· · ·putting out a Hot Shot, but again it's not my role

13· · ·and responsibility.· Operations looks after that

14· · ·and that's not something they discuss with me.

15· · · · · Q.· · ·I'm going to post another document.

16· · ·This one is Exhibit Kranz 13.· It's a two-page

17· · ·document produced by plaintiffs.

18· · · · · · · · ·(Whereupon, Kranz Exhibit 13 was

19· · · · · marked at this time.)

20· · · · · A.· · ·I see it.

21· · · · · Q.· · ·Mr. Kranz, do you recognize this

22· · ·document?

23· · · · · A.· · ·I -- yes, I do.

24· · · · · Q.· · ·Do you remember that document?

25· · · · · A.· · ·I do remember it, yes.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·The second page is an e-mail from

·3· · ·Jillavptermite@aol.com on September 26, 2017 to

·4· · ·Kranz, "Subject:· No-Pest Strip - Desk Pound

·5· · ·9467."

·6· · · · · · · · ·Mr. Kranz, as far as you know how

·7· · ·often did AVP technicians conduct regular

·8· · ·inspections or -- at stores?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · Q.· · ·I'll ask it differently.· Did AVP

11· · ·have technicians that serviced stores on a

12· · ·particular regular schedule?

13· · · · · · · · ·MR. MOY:· Objection.

14· · · · · A.· · ·Yes, so AVP had to service our stores

15· · ·on a monthly basis according to the law.

16· · · · · Q.· · ·So each store would be once a month?

17· · · · · A.· · ·Once a month unless there was an

18· · ·issue that they called in, and then they could

19· · ·increase the frequency.

20· · · · · Q.· · ·In the e-mail from Jill she writes,

21· · ·"Hi, Rami.· Tech just found No-Pest Strip on desk.

22· · ·This is second store since yesterday we found

23· · ·these.· Yesterday tech was working under counter

24· · ·and turned his head and he was inches from a

25· · ·strip."· Do you know what store Ms. Shwiner was


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·2· · ·referring to?

·3· · · · · A.· · ·I'll answer, I have not memorized the

·4· · ·store numbers.

·5· · · · · Q.· · ·She said this is the second store

·6· · ·since yesterday and she does provide the Number

·7· · ·9467.· Do you know what the first store was, the

·8· · ·one that had been referenced?

·9· · · · · A.· · ·Yeah, I don't recall that.

10· · · · · Q.· · ·Did you ask her?

11· · · · · A.· · ·I don't even remember if I asked her

12· · ·or not.· I'd like to review e-mails.

13· · · · · Q.· · ·Going to your response to her on the

14· · ·first page, could I ask you to just read the text

15· · ·for the record.

16· · · · · A.· · ·Yes.· "Hi, Jill.· I'll send out an

17· · ·e-mail to RDs tomorrow morning.· My apologies to

18· · ·the tech.· Thank you."

19· · · · · Q.· · ·To the best of your memory, did you

20· · ·send such an e-mail?

21· · · · · A.· · ·If I said I'll send it out then, yes,

22· · ·to the best of my memory I would have sent it out.

23· · · · · Q.· · ·When you say that you would send it

24· · ·to RDs, who are you referring to?

25· · · · · A.· · ·Regional directors.


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·2· · · · · Q.· · ·Are there specific individuals who

·3· · ·were the regional directors in 2017 for Starbucks?

·4· · · · · A.· · ·Yes.· So if we look at Exhibit Kranz

·5· · ·15, if you look at the e-mail that I sent out to

·6· · ·it says it lists the regional directors and the

·7· · ·regional vice presidents.

·8· · · · · Q.· · ·That's very helpful, thank you.

·9· · · · · · · · ·Would those be the individuals who

10· · ·you would have had in mind to send this next

11· · ·e-mail to?

12· · · · · A.· · ·Yes.

13· · · · · Q.· · ·Do you know what, if anything, was

14· · ·actually done in response to your e-mail?

15· · · · · A.· · ·Can you clarify that; what was done

16· · ·by who?

17· · · · · Q.· · ·By the regional managers in response

18· · ·to your e-mail which was prompted by Jill's report

19· · ·here.· Do you know what happened after you sent

20· · ·your e-mail?

21· · · · · A.· · ·Yes.· So, again, I would have

22· · ·mentioned it in the leadership team meeting on

23· · ·Monday, which would have been the following

24· · ·Monday.· They would have mentioned it in their

25· · ·huddles with their district managers and then


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·2· · ·district manager huddles with the store manager

·3· · ·and the store manager huddles with the shift

·4· · ·supervisors.

·5· · · · · Q.· · ·When you would mention such things,

·6· · ·would you identify the stores where the issue had

·7· · ·been identified?

·8· · · · · A.· · ·No, it wasn't necessary to identify

·9· · ·the stores specifically.· It was just necessary to

10· · ·get the communication back out again and the

11· · ·awareness that, you know, it's still being found.

12· · · · · Q.· · ·Did you track in any way the

13· · ·incidents where Jill or anybody else informed you

14· · ·that Hot Shots were found?

15· · · · · A.· · ·Can you repeat that, did I what?

16· · · · · Q.· · ·Did you track the incidents that you

17· · ·were informed of by Jill or anybody else

18· · ·concerning Hot Shots in stores?

19· · · · · A.· · ·I personally --

20· · · · · · · · ·MR. MOY:· Objection.

21· · · · · A.· · ·I personally didn't track anything

22· · ·else.

23· · · · · Q.· · ·So you didn't keep a log of store

24· · ·numbers and dates, something like that?

25· · · · · A.· · ·No.


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·2· · · · · Q.· · ·When you would communicate the

·3· · ·message that Hot Shots aren't allowed to all of

·4· · ·the leaders, did you ever communicate to any

·5· · ·specific individual leaders that you had

·6· · ·identified the problem in their stores in

·7· · ·particular rather than somewhere just generally in

·8· · ·the region?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · A.· · ·So on occasion I had -- on my

11· · ·one-on-one meetings with the regional directors I

12· · ·would mention that, you know, I'd been informed

13· · ·that Hot Shots were found in some of their stores.

14· · · · · Q.· · ·Who had you mentioned that to

15· · ·specifically?

16· · · · · A.· · ·From my memory now, I can recall

17· · ·mentioning to Ron Schuler.

18· · · · · Q.· · ·Anyone else?

19· · · · · A.· · ·I don't recall.· You know, it's very

20· · ·possible, but I just don't recall if I mentioned

21· · ·it to anyone else.· Ron I just remember.

22· · · · · Q.· · ·Did Ron report back to you that he

23· · ·had looked into it or done anything in particular

24· · ·after you had that communication with him?

25· · · · · A.· · ·Ron told me during a meeting, that he


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·2· · ·was going to reiterate the message again with his

·3· · ·district managers, right, and that -- you know,

·4· · ·reiterate the message that it's not going to

·5· · ·be -- that it's not a Starbucks standard, right,

·6· · ·and that we should not be using it at all.

·7· · · · · Q.· · ·Are there other Starbucks standards

·8· · ·that are violated without disciplinary

·9· · ·consequences, that you're aware of?

10· · · · · · · · ·MR. MOY:· Objection.

11· · · · · A.· · ·No, I don't know anything about

12· · ·disciplinary actions because, again, it's not part

13· · ·of my role and responsibility and I'm not privy to

14· · ·that information.

15· · · · · Q.· · ·When we have been talking about the

16· · ·policy and how you've reiterated it that Hot Shots

17· · ·aren't to be used, to be completely clear your

18· · ·understanding was that it was a mandatory policy,

19· · ·not like an advisory guideline; is that fair?

20· · · · · A.· · ·Yes, it's a Starbucks standard

21· · ·written in the food safety manual.

22· · · · · Q.· · ·I've just posted a document, Kranz

23· · ·Exhibit 44.· It's a one-page document Bates

24· · ·numbered DEF 27788.

25· · · · · · · · ·(Whereupon, Kranz Exhibit 44 was


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·2· · · · · marked at this time.)

·3· · · · · A.· · ·Okay.

·4· · · · · Q.· · ·Mr. Kranz, do you recognize this

·5· · ·document?

·6· · · · · A.· · ·Yes, I do.

·7· · · · · Q.· · ·What is it?

·8· · · · · A.· · ·It's an e-mail from Margaret Kis to

·9· · ·myself and the other facility managers.

10· · · · · Q.· · ·And I'm trying to break down kind of

11· · ·the form of the e-mail.· It appears to be a chain.

12· · ·The e-mail at the bottom is sent by you Friday,

13· · ·September 29th.

14· · · · · A.· · ·Uh-huh.

15· · · · · Q.· · ·Who responded to you?

16· · · · · A.· · ·Okay.· If I go up there --

17· · · · · Q.· · ·The only reason I ask is it appears

18· · ·that you respond to yourself "FYI, thank you" and

19· · ·I'm not sure if I'm misinterpreting.

20· · · · · A.· · ·Yes, I did.· So I e-mailed that to

21· · ·Stephen Gallant and the facilities team just to

22· · ·let them know, to inform them.

23· · · · · Q.· · ·So you were forwarding them on your

24· · ·prior e-mail?

25· · · · · A.· · ·On my prior e-mail to the operations


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·2· · ·team, yes.

·3· · · · · Q.· · ·And then which e-mail did Margaret

·4· · ·Kis reply to?

·5· · · · · A.· · ·They replied to the original one

·6· · ·which I forwarded to them.

·7· · · · · Q.· · ·Did you have any communications with

·8· · ·Margaret Kis about the subject, apart from what's

·9· · ·in the text of the e-mail?

10· · · · · A.· · ·From my recollection, no, I don't

11· · ·recall.

12· · · · · Q.· · ·We can put that aside.

13· · · · · · · · ·I'm posting a document, Exhibit Kranz

14· · ·16.· It's a two-page document Bates numbered DEF

15· · ·141 to 142.

16· · · · · · · · ·(Whereupon, Kranz Exhibit 16 was

17· · · · · marked at this time.)

18· · · · · A.· · ·Okay.

19· · · · · Q.· · ·Mr. Kranz, do you recognize the

20· · ·document?

21· · · · · A.· · ·Yes, I do.

22· · · · · Q.· · ·And I think from the formatting it's

23· · ·again an e-mail chain, with the e-mail on the

24· · ·first half of the first page that appears to be

25· · ·you forwarding the prior chain to counsel; is that


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·2· · ·correct?

·3· · · · · A.· · ·That's correct.

·4· · · · · Q.· · ·So let's put that aside and focus on

·5· · ·the prior e-mail.

·6· · · · · A.· · ·Yes.

·7· · · · · Q.· · ·Have you had a chance to read what's

·8· · ·written there?

·9· · · · · A.· · ·Yes, I have.

10· · · · · Q.· · ·So the e-mail is from you on October

11· · ·16, 2017 to Ross Shadix and cc'd to other people.

12· · ·Who are these individuals again?

13· · · · · A.· · ·They're the regional directors and

14· · ·Ross Shadix is the regional vice president.

15· · · · · Q.· · ·The subject line is "Hot Shots for

16· · ·insecticide in store DOH violation."

17· · · · · A.· · ·Uh-huh.

18· · · · · Q.· · ·Earlier you had mentioned that you

19· · ·could remember there being one citation from DOH.

20· · ·Do you believe that's what you're referring to in

21· · ·this e-mail?

22· · · · · A.· · ·Yes, it is.

23· · · · · Q.· · ·You had been using the word

24· · ·"citation" when we had earlier talked about this

25· · ·incident.· Is that a different term in this


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·2· · ·context than violation?

·3· · · · · A.· · ·It's just a Department of Health

·4· · ·verbiage for it.

·5· · · · · Q.· · ·You wrote "The DOH are hot for citing

·6· · ·Hot Shots in stores."· Mr. Kranz, why did you

·7· · ·write that?

·8· · · · · A.· · ·To emphasize the fact.· So, again,

·9· · ·this whole e-mail was emphasizing and trying to

10· · ·push the point that operations, you know, again

11· · ·should be relaying the communication all the way

12· · ·down and cascading it down from the RDs to the

13· · ·DMs, to the store managers, to the ASMs, to the

14· · ·shifts and get the word out.· So, again, my method

15· · ·is just using words to emphasize it and knowing

16· · ·the Starbucks culture of what words are going to

17· · ·work the most.

18· · · · · Q.· · ·Could I ask you to read, for the

19· · ·record, the sentence that starts as the last

20· · ·sentence on the first page and continues to the

21· · ·next page.

22· · · · · A.· · ·Last sentence, "Please see attached

23· · ·video which shows one store with nine Hot Shots on

24· · ·top of the front of house cabinets."

25· · · · · Q.· · ·Do you know what store that was?


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·2· · · · · A.· · ·Without checking it, no, I don't; but

·3· · ·I do remember that the video was sent to me

·4· · ·by -- by Jill.

·5· · · · · Q.· · ·Had she sent you videos prior to this

·6· · ·one?

·7· · · · · A.· · ·Jill and I were in communication

·8· · ·about Hot Shots and there were, yes, I -- I

·9· · ·believe.· I don't recall how many there were or

10· · ·what there were, but there's a good possibility

11· · ·there were others.

12· · · · · Q.· · ·Did Ms. Shwiner send you that video

13· · ·on October 16th or at some other prior time?

14· · · · · A.· · ·I can't tell you the exact date that

15· · ·she sent to it me.· I do remember the video,

16· · ·though.

17· · · · · Q.· · ·And you write -- that paragraph ends,

18· · ·"Attached is also a DOH violation for Hot Shot in

19· · ·one of our stores."· So the DOH violation was for

20· · ·something different than what was in the video; is

21· · ·that correct?

22· · · · · A.· · ·The video was not of the same store.

23· · · · · Q.· · ·Do you remember, now that you've been

24· · ·thinking about it for a bit, which store was the

25· · ·subject of the DOH violation?


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·2· · · · · · · · ·MR. MOY:· Objection.

·3· · · · · A.· · ·Without checking the inspection

·4· · ·report, I don't recall.

·5· · · · · Q.· · ·Could I ask you to read the last full

·6· · ·sentence.

·7· · · · · A.· · ·"Please, I ask again for our

·8· · ·partners' safety, health, and brand (protecting A

·9· · ·grade) pass on this message onto the DM, SM and

10· · ·have them all removed."

11· · · · · Q.· · ·To the best of your knowledge, did

12· · ·the message get passed on and lead to all of the

13· · ·Hot Shots being removed?

14· · · · · A.· · ·To the best of my knowledge, the

15· · ·communication was -- you know -- cascaded down.          I

16· · ·know that they were looking for Hot Shots; and the

17· · ·district managers and regional directors when they

18· · ·were in stores, I know they were taking it very

19· · ·seriously.

20· · · · · · · · ·Were all of them removed, I can't

21· · ·tell you if all of them were removed because I

22· · ·don't know if they found everything; but I know

23· · ·they were actively looking for it and taking it

24· · ·very seriously.

25· · · · · Q.· · ·You had mentioned before that you did


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·2· · ·not keep a log of incidents, like what days and

·3· · ·location and any information about the Hot Shots

·4· · ·being discovered in stores.· As far as you know,

·5· · ·did anybody at the company keep track of that?

·6· · · · · A.· · ·As far as I know no one kept track of

·7· · ·it from an exact date, time, store, no.

·8· · · · · Q.· · ·Were you ever part of any

·9· · ·conversation or communication where there was any

10· · ·discussion of perhaps designating somebody to keep

11· · ·a log of these incidents?

12· · · · · A.· · ·No, I was not part of any

13· · ·conversation or meeting for that.· You know, just

14· · ·to reiterate, you know, my role was coaching,

15· · ·consulting.· Operations is the one that leads the

16· · ·stores and ensures that they're complying with

17· · ·Starbucks standards.

18· · · · · Q.· · ·Let's put this document aside.

19· · · · · · · · ·I've just posted a document, Exhibit

20· · ·Kranz 5.· It's one page, Bates DEF 4962.

21· · · · · · · · ·(Whereupon, Kranz Exhibit 5 was

22· · · · · marked at this time.)

23· · · · · A.· · ·Okay.

24· · · · · Q.· · ·Mr. Kranz, do you recognize the

25· · ·document?


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·2· · · · · A.· · ·I recognize it as an e-mail and I

·3· · ·recognize that I'm cc'd on it, but I don't

·4· · ·remember this.

·5· · · · · Q.· · ·Is this an e-mail that you reviewed

·6· · ·in preparation for the deposition?

·7· · · · · A.· · ·In preparation -- can you please be

·8· · ·more specific?

·9· · · · · Q.· · ·Do you believe that you saw this

10· · ·e-mail more recently than when it was sent?

11· · · · · · · · ·MR. MOY:· Insofar as -- I'm going to

12· · · · · object.· Insofar as counsel is asking the

13· · · · · witness what documents he reviewed with

14· · · · · counsel, I instruct the witness --

15· · · · · · · · ·MR. GRAFF:· The witness never

16· · · · · indicated he reviewed documents with counsel.

17· · · · · · · · ·MR. MOY:· I'm objecting to the form

18· · · · · of the question and so let me state my

19· · · · · objection to the form of the question.

20· · · · · · · · ·Insofar as you are seeking -- the

21· · · · · question seeks the identity of any documents

22· · · · · that were reviewed by counsel, again insofar

23· · · · · as the witness at the direction of legal

24· · · · · counsel reviewed any documents selected and

25· · · · · complied by legal counsel, I instruct the


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·2· · · · · witness not to answer and to refrain from

·3· · · · · disclosing any such documents.

·4· · · · · · · · ·However if the witness independently

·5· · · · · reviewed any documents to prepare for his

·6· · · · · deposition, the witness may answer.

·7· · · · · Q.· · ·Okay, Mr. Kranz, I'm going to

·8· · ·rephrase the question and then ask you if you can

·9· · ·answer the question or if you cannot answer it in

10· · ·light of your counsel's instruction.

11· · · · · · · · ·The question is; did you review this

12· · ·document more recently than the date it was sent?

13· · · · · · · · ·MR. MOY:· Same objection.

14· · · · · A.· · ·I can't answer that.

15· · · · · Q.· · ·So when you said you don't remember

16· · ·it, what did you mean?

17· · · · · A.· · ·I don't remember the incident and I

18· · ·don't remember reading this e-mail.· I know I did,

19· · ·but I just don't remember it.

20· · · · · Q.· · ·Could I ask you to -- first, it's

21· · ·sent by Noelle Perez.· Who is she?

22· · · · · A.· · ·Noelle Perez was a facilities

23· · ·manager.

24· · · · · Q.· · ·Who are the four individuals on the

25· · ·"To" line?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·Laney Alfaro would have been the

·3· · ·store manager, but I'll have to double-check on

·4· · ·that.· Timinit Ashebir is a district manager.· Ron

·5· · ·Schuler is the regional director.· Keith Costello,

·6· · ·whose cc'd here, will be the senior facility

·7· · ·manager.· Then there's myself and Jasmine Onumah

·8· · ·who is the QA specialist.

·9· · · · · Q.· · ·The subject line, do you understand

10· · ·what that language means?

11· · · · · A.· · ·"7612" is the store number, "60th and

12· · ·First" is our reference to where the store is, and

13· · ·then it says "Tuesday evening visit."

14· · · · · Q.· · ·Could I ask you to read the second to

15· · ·the last the paragraph of the e-mail for the

16· · ·record.

17· · · · · A.· · ·"Over the weekend" -- and this is

18· · ·from Noelle Perez too.· "Over the weekend I was

19· · ·also informed that the store is leaving the Raid,

20· · ·a store-bought chemical out.· This is not a

21· · ·Starbucks approved product, at the very least

22· · ·let's make sure we conceal it.· Rami - thoughts."

23· · · · · Q.· · ·Do you have an understanding of what

24· · ·product she's referring to as "Raid" or "the

25· · ·Raid"?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·You would have to ask Noelle to be

·3· · ·more specific on what product she was referring

·4· · ·to.· I can only guess at that.

·5· · · · · Q.· · ·Is there one or two or three products

·6· · ·that come to mind just most likely when you would

·7· · ·have seen somebody refer to this?

·8· · · · · · · · ·MR. MOY:· Objection.

·9· · · · · A.· · ·So if you want my opinion on

10· · ·it --

11· · · · · Q.· · ·Yes.

12· · · · · A.· · ·-- not knowing what Noelle was

13· · ·discussing, I can only tell you that, you

14· · ·know -- and, again, I wasn't brought up in the

15· · ·country so I only know of one Raid in the country.

16· · · · · Q.· · ·Do you have any understanding

17· · ·yourself of what she may have been trying to

18· · ·communicate when she wrote, "This is not a

19· · ·Starbucks approved product, at the very least

20· · ·let's make sure we conceal it"?

21· · · · · · · · ·MR. MOY:· Objection.

22· · · · · A.· · ·You'll have to ask Noelle about that.

23· · ·I'm note a hundred percent sure.

24· · · · · Q.· · ·In terms of Starbucks policy --

25· · · · · A.· · ·Yes.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·-- is there any different

·3· · ·requirements or rule that applies if a pesticide

·4· · ·is concealed versus used openly?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·According to Starbucks policy again

·7· · ·I'll reiterate where our store partners aren't

·8· · ·allowed to use pesticides, they should be calling

·9· · ·all problems into the FPC and allowing the pest

10· · ·vendors to deal with that.

11· · · · · Q.· · ·Okay.· So would your understanding be

12· · ·that what Noelle Perez appears to be suggesting

13· · ·would not be consistent with policy?

14· · · · · · · · ·MR. MOY:· Objection.

15· · · · · A.· · ·I'm not sure what she was suggesting.

16· · ·You'd have to ask Noelle.

17· · · · · Q.· · ·Okay.· So she wrote the words, "At

18· · ·the very least let's make sure we conceal it" and

19· · ·then she wrote "Rami - thoughts."

20· · · · · A.· · ·Like I don't remember the e-mail, but

21· · ·I don't remember replying to it too so...

22· · · · · Q.· · ·Okay.· So is your thought upon

23· · ·reading this sentence that she's describing

24· · ·something that, to your understanding, would be

25· · ·consistent with Starbucks policy?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · · · · ·MR. MOY:· Objection.

·3· · · · · A.· · ·I can't answer that because I can't

·4· · ·tell you exactly what she was thinking about that.

·5· · · · · Q.· · ·I'm asking how you read the words on

·6· · ·the paper, though, because I'm --

·7· · · · · · · · ·MR. MOY:· Objection.

·8· · · · · Q.· · ·-- interested in your interpretation

·9· · ·if you had any understanding or have any

10· · ·understanding of what she was saying; and for

11· · ·Gary's benefit, part of the reason I'm asking

12· · ·about that is that she says "Rami - thoughts" and

13· · ·I'm trying to get at:· What, if anything, do you

14· · ·think about her suggestion?

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·I mean, I know she said

17· · ·"Rami - thoughts."· I don't remember replying to

18· · ·the e-mail.· I don't even really remember the

19· · ·e-mail and I don't -- I don't know if I can answer

20· · ·the question fully because I don't remember

21· · ·everything.· So I don't even remember what I

22· · ·wrote, if I wrote anything.

23· · · · · Q.· · ·Do you remember having any subsequent

24· · ·communication with anybody relating to this

25· · ·e-mail, except your counsel?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·No, I don't.

·3· · · · · · · · ·MR. MOY:· Objection.

·4· · · · · Q.· · ·Is the use of Raid or store-bought

·5· · ·chemicals in Starbucks the kind of thing that

·6· · ·operations people would typically seek your

·7· · ·guidance for?

·8· · · · · · · · ·MR. MOY:· Objection.

·9· · · · · A.· · ·To clarify, what do you mean seek my

10· · ·guidance?

11· · · · · Q.· · ·In your role as quality assurance

12· · ·manager, is that the type of thing that you would

13· · ·be an appropriate person to be a recipient of such

14· · ·a question?

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·The answer is they wouldn't seek my

17· · ·guidance because it's not an approved Starbucks

18· · ·chemical and Starbucks has specifically stated

19· · ·that stores should not be using any sort of

20· · ·pesticides, that they should be pushing that off

21· · ·to the pest vendors.· So it's not even a question

22· · ·of ask guidance from anyone because they won't.

23· · · · · Q.· · ·With respect to what's written here,

24· · ·"This is not a Starbucks approved product, at the

25· · ·very least let's make sure we conceal it, Rami -


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·thoughts," did you interpret that as her

·3· · ·requesting guidance on that issue or not?

·4· · · · · A.· · ·I'm not sure.· I probably would have.

·5· · ·Again I'm assuming because I don't remember it,

·6· · ·but I probably would have reached out to get more

·7· · ·clarification on what she was saying.

·8· · · · · Q.· · ·Did you at any point search your

·9· · ·records for any further information or materials

10· · ·that might relate to this e-mail?

11· · · · · · · · ·MR. MOY:· Objection.

12· · · · · A.· · ·No, I haven't because I don't recall

13· · ·it.

14· · · · · Q.· · ·Do you keep notes in a regular

15· · ·systematic way at your job that you store?

16· · · · · A.· · ·No, I don't keep notes so -- and what

17· · ·sort of notes are you talking about?

18· · · · · Q.· · ·So are there any writings or records

19· · ·that you could think of that you might be able

20· · ·to refer to that might add to your present

21· · ·understanding and scope of information about this

22· · ·e-mail?

23· · · · · A.· · ·I -- the only thing I could think is

24· · ·if I could go back through my e-mails to see if I

25· · ·replied to her.· I wouldn't have any records of a


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·phone call and the only records I have of store

·3· · ·visits usually are kept at the store with the

·4· · ·district manager.

·5· · · · · Q.· · ·To the best of your memory, did you

·6· · ·at any point actually search to see if there was a

·7· · ·reply that you sent on this e-mail?

·8· · · · · A.· · ·I haven't searched.

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · · · · ·MR. GRAFF:· There's an answer.· It's

11· · · · · 1 p.m.· We had talked about lunch at this

12· · · · · point.· Let's go off the record.

13· · · · · · · · ·(Whereupon, a lunch break was taken

14· · · · · from 1:00 p.m. to 1:40 p.m.)

15· · · · · · · · ·MR. GRAFF:· Let's go back on the

16· · · · · record.· It's 1:43.

17· · · · · Q.· · ·Mr. Kranz, did you communicate with

18· · ·anybody in words or writing during the break?

19· · · · · A.· · ·I called up a friend of mine, but we

20· · ·spoke about everything else except this.

21· · · · · Q.· · ·Did the friend who you called ever

22· · ·work at Starbucks?

23· · · · · A.· · ·No, he doesn't.

24· · · · · Q.· · ·Did you read anything during the

25· · ·break?


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·2· · · · · A.· · ·No, I haven't read anything.

·3· · · · · Q.· · ·Other than your friend, did you

·4· · ·communicate with anyone else during the break?

·5· · · · · A.· · ·I spoke to my -- both my daughters

·6· · ·and just asked them how school is going.

·7· · · · · Q.· · ·Are they at homeschooling or --

·8· · · · · A.· · ·Yes, they are.· Fully remote right

·9· · ·now.

10· · · · · Q.· · ·I'm posting an Exhibit Kranz 49.· It

11· · ·is a two-page e-mail chain produced by defendants

12· · ·Bates numbered DEF 1914 and 1915.

13· · · · · · · · ·(Whereupon, Kranz Exhibit 49 was

14· · · · · marked at this time.)

15· · · · · Q.· · ·Mr. Kranz, I'm not sure if you're

16· · ·maybe reading to yourself a little bit out loud.

17· · ·That's very difficult for the court reporter.         I

18· · ·apologize, if you could -- thank you.

19· · · · · A.· · ·Okay.

20· · · · · Q.· · ·Do you recognize this document or any

21· · ·part of it?

22· · · · · A.· · ·I mean, I recognize it that I wrote

23· · ·it, but do I remember the exact incident, no, I

24· · ·don't recall.· It was a few years ago, but I am

25· · ·reading through it.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·Okay.· Let's start with the earliest

·3· · ·e-mail in the chain; and I'm not sure if maybe the

·4· · ·way it's formatted with successive e-mails in a

·5· · ·chain might have taken out some of the information

·6· · ·here that would normally go on the subject line,

·7· · ·so I'll point to the spot and then ask you if you

·8· · ·know what's missing.

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · Q.· · ·"On May 21, 2018 at 2:56 p.m. Rami

11· · ·Kranz wrote," do you know who you sent that e-mail

12· · ·to?

13· · · · · A.· · ·No, It's not -- I don't see any, like

14· · ·any information there.· I have no idea.

15· · · · · Q.· · ·Do you understand what subject you

16· · ·were writing about?

17· · · · · A.· · ·No, it would help if I had that.

18· · ·I'm -- it would help, like it would help if I had

19· · ·the subject; that would possibly help.· It would

20· · ·also help going back to the records and see what

21· · ·happened, you know, that day.

22· · · · · Q.· · ·Sure, and that -- that format of the

23· · ·document is the way it was provided to us, so I

24· · ·can't help that.· When you referred a moment ago

25· · ·that you would go back to look at something, what


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·2· · ·were you referring to?

·3· · · · · A.· · ·I -- you know, I'll go back and try

·4· · ·and look in my -- my planner and see, you know, if

·5· · ·I wrote anything in there about where I was going

·6· · ·that day.

·7· · · · · Q.· · ·Okay.· Can I ask you to read the one

·8· · ·sentence paragraph under the last bullet on this

·9· · ·page.

10· · · · · A.· · ·"Recommending investigating possible

11· · ·breeding source and continuing to use CB-80 to

12· · ·ensure minimal, if not zero, flies in store."

13· · · · · Q.· · ·As you sit here today, do you have

14· · ·any memory or information about why you wrote that

15· · ·sentence?

16· · · · · A.· · ·No, but I -- just reading it I can

17· · ·tell you what I was, you know, aiming at and what

18· · ·the meaning was.

19· · · · · Q.· · ·What would that be?

20· · · · · A.· · ·So the meaning was that one

21· · ·investigating the possible breeding source, so

22· · ·we're trying to find where the fruit flies are

23· · ·coming from; and then continuing to use CB-80 to

24· · ·ensure minimal, if not zero, flies in the store,

25· · ·that would be for the pest control to be using;


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·2· · ·that's not for our store partners.· At the time

·3· · ·this was the product that I was recommending the

·4· · ·pest vendors use to knock -- know down the fruit

·5· · ·flies.· It did a really good job.

·6· · · · · Q.· · ·Okay, let's keep trying to

·7· · ·deconstruct the document.· If we go up to the next

·8· · ·e-mail, it starts at the bottom of the first page.

·9· · ·Do you see it's May 21, 2018 at 2:06 p.m.· Can you

10· · ·read the name that's there?

11· · · · · A.· · ·Taz Mbodje.

12· · · · · · · · ·MR. GRAFF:· The first name for the

13· · · · · court reporter is T-A-Z, the last name

14· · · · · M-B-O-D-J-E.

15· · · · · Q.· · ·Mr. Kranz, what position did that

16· · ·individual hold in 2018?

17· · · · · A.· · ·District manager.

18· · · · · Q.· · ·Of what district?

19· · · · · A.· · ·I couldn't tell you the district name

20· · ·or the number of it, but the district manager.

21· · · · · Q.· · ·His e-mail also doesn't include some

22· · ·of that standard e-mail heading lines.· What he

23· · ·writes begins, "Rami, Thank you for your thorough

24· · ·walkthrough."· Does that at all jog your memory or

25· · ·refresh your memory about what your e-mail was


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·about?

·3· · · · · A.· · ·No.· When he's talking about the

·4· · ·thorough walkthrough is the observation that I

·5· · ·wrote in the initial e-mail that we -- that we're

·6· · ·looking at.· No.

·7· · · · · Q.· · ·Okay.· So those observations, you

·8· · ·think, would be the walkthrough that he's

·9· · ·referring to?

10· · · · · A.· · ·Yes, that would be.

11· · · · · Q.· · ·The next e-mail up is from Keith

12· · ·Costello also May 21st, 2018.· This one is at 3:16

13· · ·p.m. to a number of individuals, cc you and some

14· · ·individuals.· Can you read the subject line on

15· · ·that e-mail?

16· · · · · A.· · ·It says "Re: Store Number 837 QAZOH

17· · ·orders 5/21/18."

18· · · · · Q.· · ·In the context of your work, are you

19· · ·able to explain what that subject line means?

20· · · · · A.· · ·So what that means is that -- it can

21· · ·mean one of two things.· It can either mean we did

22· · ·at the time of the audit or an inspection, an

23· · ·internal one, just, you know, what we do, or it

24· · ·was a followup to a Department of Health audit.

25· · · · · Q.· · ·If you could read through the brief


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·2· · ·text of this e-mail, just let me know when you've

·3· · ·seen it.

·4· · · · · A.· · ·Seen what?

·5· · · · · Q.· · ·What it says.

·6· · · · · A.· · ·Read the text and see what what says?

·7· · · · · Q.· · ·Just read it so that you are able to

·8· · ·see what's written there and then I'll ask you a

·9· · ·question, but I would like you to have had a

10· · ·chance to read it first to yourself.

11· · · · · A.· · ·Okay, I read it.

12· · · · · Q.· · ·Does anything in this e-mail refresh

13· · ·your recollection or add any information to your

14· · ·understanding of your very first e-mail in the

15· · ·chain?

16· · · · · A.· · ·No, it doesn't.· But all I can tell

17· · ·you is that sometimes I do get the store numbers

18· · ·mixed up, so I may have sent it to the wrong group

19· · ·thinking it was one number instead of another.

20· · ·I -- you know, I see on -- on average, I can see

21· · ·up to six stores in a day.· So sometimes I may

22· · ·type in the wrong one, so -- but it hasn't jumped

23· · ·on what exactly this was about.

24· · · · · Q.· · ·Okay.

25· · · · · A.· · ·I can talk to you about what my


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·2· · ·observations were and I can read them and I can

·3· · ·let you know what I'm saying.

·4· · · · · Q.· · ·I appreciate it.· If you don't

·5· · ·remember the answer to the question I've been

·6· · ·going at, that's fine.· It's only as good as your

·7· · ·memory.· We can put that aside.

·8· · · · · · · · ·I'm posting an exhibit labeled Kranz

·9· · ·34.· It's a two-page e-mail produced by plaintiff.

10· · · · · · · · ·(Whereupon, Kranz Exhibit 34 was

11· · · · · marked at this time.)

12· · · · · A.· · ·Okay.

13· · · · · Q.· · ·Mr. Kranz, do you recognize all or

14· · ·part of the document?

15· · · · · A.· · ·I do recognize my part it, yes, and

16· · ·Jill's.

17· · · · · Q.· · ·Do you have a memory of what's

18· · ·written here from around the time it was sent?

19· · · · · A.· · ·So I remember -- I remember writing

20· · ·the e-mail, yes.

21· · · · · Q.· · ·Okay, if I could direct you to

22· · ·the second page, October 15, 2017 from

23· · ·Jillavptermite@aol.com.· She writes "Rami, my

24· · ·service manager just sent me a pic of a DDVP strip

25· · ·that was placed in the fly light.· I myself came


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·2· · ·across two in the past two nights while inspecting

·3· · ·under counter cabinets and were inches from my

·4· · ·face.· When you get a moment tomorrow, if you

·5· · ·could give me a call.· Thank you."

·6· · · · · · · · ·Mr. Kranz, do you remember having a

·7· · ·subsequent conversation with Ms. Shwiner about

·8· · ·this e-mail?

·9· · · · · A.· · ·I don't recall the -- the phone

10· · ·conversations I've had with Jill and I don't

11· · ·recall this one in particular.

12· · · · · Q.· · ·Do you have any information about the

13· · ·fly -- the Hot Shot in a fly light that she refers

14· · ·to?

15· · · · · A.· · ·No more than what's -- than what's

16· · ·stated in the e-mail.

17· · · · · Q.· · ·When she writes that she came across

18· · ·two in the past two nights, do you know what store

19· · ·she's referring to?

20· · · · · A.· · ·Not at all.· You'll have to ask Jill.

21· · · · · Q.· · ·Did you ask Jill?

22· · · · · A.· · ·I don't recall if I called her or

23· · ·not.· If I did, I probably would have.

24· · · · · Q.· · ·Let's go to your e-mail responding to

25· · ·the one we were just looking at on October 16,


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·2017, 5:42 a.m., "Subject:· Re: Dichlorvos Strips.

·3· · ·Mr. Kranz, do you believe that you would have sent

·4· · ·it at that time, 5:42 a.m.; does that make sense?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·Yes.

·7· · · · · Q.· · ·Can I ask you to read the body of

·8· · ·your e-mail.

·9· · · · · A.· · ·Certainly.· So it says "Hi, Jill.

10· · ·I'll call you around 10.· Which stores had these

11· · ·in them?· I sent out the e-mail to all the last

12· · ·time you asked and I mentioned it during my

13· · ·leadership presentation to Ross and the regional

14· · ·directors just last week.· I can have another talk

15· · ·with the team and stress the importance of

16· · ·breaking this habit."

17· · · · · Q.· · ·Why did she -- I'm sorry, did

18· · ·someone --

19· · · · · A.· · ·No, that was the end of it words

20· · ·missing.

21· · · · · Q.· · ·Okay, I couldn't tell if Gary was

22· · ·saying something.

23· · · · · · · · ·MR. MOY:· No, I'm sorry, if I made

24· · · · · any sounds.

25· · · · · Q.· · ·Mr. Kranz, what were you referring to


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·in that last sentence?

·3· · · · · A.· · ·The last sentence?

·4· · · · · Q.· · ·Yes.

·5· · · · · A.· · ·I was referring to I'll talk to the

·6· · ·team again, stress the importance, right, that

·7· · ·none of our partners should be using pest strips

·8· · ·at all.

·9· · · · · Q.· · ·When you wrote "The importance of

10· · ·breaking this habit," what's the habit?

11· · · · · A.· · ·It was just a phrase that I was

12· · ·using.· So I wasn't referring to anything and I

13· · ·certainly wasn't referring to, you know, us

14· · ·overusing or underusing or -- it was just a phrase

15· · ·that I used.

16· · · · · Q.· · ·And what information were you

17· · ·intending to communicate by that choice of word?

18· · · · · A.· · ·So the intention was just to stress

19· · ·to Jill, right, that we are taking this very

20· · ·seriously, right, and that not only have I had,

21· · ·you know, multiple meetings right, with, the

22· · ·leadership teams, that I was going to continue

23· · ·doing it and we're going to continue stressing the

24· · ·importance of this.

25· · · · · Q.· · ·So when you wrote "stress the


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·importance of breaking this habit," what is it

·3· · ·that you were going to stress the importance of?

·4· · · · · A.· · ·Just the importance of our partners

·5· · ·should not be using any pesticides.

·6· · · · · Q.· · ·Is that what you were referring to by

·7· · ·"this habit," the use of pesticides by Starbucks

·8· · ·employees?

·9· · · · · A.· · ·No, I was just using that as a phrase

10· · ·that I use, but not referring or -- to, you know,

11· · ·anything else.

12· · · · · Q.· · ·When you used the phrase, did you

13· · ·intend it to impart information to the reader?

14· · · · · A.· · ·No more --

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·No more than just stressing the

17· · ·importance of it.

18· · · · · Q.· · ·What does habit mean to you?· You

19· · ·said it's a phrase that you used.

20· · · · · · · · ·MR. MOY:· Objection.

21· · · · · A.· · ·So that phrase was just another way

22· · ·of me saying nowhere seeing it in stores.

23· · · · · Q.· · ·So when you used the word "habit" or

24· · ·the phrase "this habit," do you have some type of

25· · ·meaning that's different than the ordinary usage


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·or dictionary meaning that it holds for you --

·3· · · · · · · · ·MR. MOY:· Objection.

·4· · · · · Q.· · ·-- personally?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·Again, it was just a phrase that I

·7· · ·was using.· It was not meant to -- meant to mean

·8· · ·anything else, you know, no other meaning.· It was

·9· · ·just letting Jill know that I was going to be

10· · ·talking to the leadership team and that we're

11· · ·taking it very seriously.

12· · · · · Q.· · ·What, if anything, did you do in

13· · ·connection with this after you sent the e-mail?

14· · · · · · · · ·MR. MOY:· Objection.

15· · · · · A.· · ·So again at the leadership team

16· · ·meetings on Monday, you know, I mentioned it to

17· · ·them.· Ross again reiterated the importance of it.

18· · ·The regional directors, you know, again agreed

19· · ·and, you know, understood the importance of it;

20· · ·and also agreed to continue talking to their team

21· · ·and cas -- cascade it all the way down the barista

22· · ·level.

23· · · · · Q.· · ·What, if anything, to your

24· · ·understanding was done that had not already been

25· · ·done before by you or the leadership team in


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·connection with this e-mail?

·3· · · · · · · · ·MR. MOY:· Objection.

·4· · · · · Q.· · ·I can ask the question differently.

·5· · ·Back to the last sentence that you wrote that

·6· · ·we've been looking at, at the beginning it says "I

·7· · ·can have another talk with the team and stress the

·8· · ·importance of breaking this habit."· Had you

·9· · ·previously had a talk with the team where you

10· · ·stressed the importance of not using Hot Shots?

11· · · · · A.· · ·I had previously talked to the team

12· · ·about stressing the importance, right, of not

13· · ·using any pesticides, yes.

14· · · · · Q.· · ·How many times prior to this had you

15· · ·had such discussions with the team?

16· · · · · A.· · ·I couldn't recall an exact number,

17· · ·but it had been multiple times.

18· · · · · Q.· · ·Would you be able to say if it was

19· · ·more or less than ten?

20· · · · · A.· · ·I'll be guessing --

21· · · · · · · · ·MR. MOY:· Objection.

22· · · · · · · · ·Rami, give me an opportunity to

23· · · · · object.

24· · · · · · · · ·THE WITNESS:· Sorry.

25· · · · · · · · ·MR. MOY:· All right, go on.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·Would you be able to say if it's more

·3· · ·or less than a hundred?

·4· · · · · · · · ·MR. MOY:· Objection.

·5· · · · · A.· · ·Again, I'll be guessing.· I can't say

·6· · ·a number.

·7· · · · · Q.· · ·Do you believe that it was more than

·8· · ·five?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · A.· · ·I believe it was multiple times.

11· · · · · Q.· · ·Do you believe it was twice?

12· · · · · · · · ·MR. MOY:· Objection.

13· · · · · A.· · ·Again, I -- I can't give you an exact

14· · ·number because that's going to be a guess.

15· · · · · Q.· · ·Did you have in mind that this

16· · ·anticipated next discussion with the talk with the

17· · ·team again was going to be different in content

18· · ·than your prior discussions?

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·What do you mean by "different in

21· · ·content"?

22· · · · · Q.· · ·When you spoke with the team, were

23· · ·you going to tell them something different from

24· · ·what you had previously told them?

25· · · · · · · · ·MR. MOY:· Objection.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·Nothing different, just reiterating

·3· · ·the importance of it and reiterating the

·4· · ·importance of cascading it down to that their team

·5· · ·and getting the communications down to everyone

·6· · ·and ensuring that everyone understood.

·7· · · · · Q.· · ·So on the multiple prior occasions

·8· · ·when you had the discussion, was it your

·9· · ·understanding that the information was pushed down

10· · ·cascading to the teams and understood?

11· · · · · A.· · ·Not only was it understood by me, but

12· · ·I'd also personally seen it too.

13· · · · · Q.· · ·Other than what's written here, did

14· · ·you have any further followup with Ms. Shwiner

15· · ·about this issue?

16· · · · · · · · ·MR. MOY:· Objection.

17· · · · · A.· · ·Again, it's a possibility because I

18· · ·spoke with Ms. Shwiner numerous times over the

19· · ·phone.· Not just always through e-mail, sometimes

20· · ·even texts as well.· So I can't tell you what

21· · ·followup I had with this, but I'm sure there was

22· · ·some.

23· · · · · Q.· · ·Is there anything else beyond what

24· · ·you did that you believe you could have done to

25· · ·address the ongoing recurrence of Hot Shots in the


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·stores?

·3· · · · · · · · ·MR. MOY:· Objection.

·4· · · · · A.· · ·So in my role and responsibility I

·5· · ·believe that I was doing everything that I could,

·6· · ·okay, in my power at Starbucks to communicate, to

·7· · ·coach, to consult the operations team.

·8· · · · · Q.· · ·Do you believe that the operations

·9· · ·team should have done anything different or

10· · ·additional beyond what it did to address the

11· · ·problem?

12· · · · · · · · ·MR. MOY:· Objection.

13· · · · · A.· · ·Again, I can't talk about the

14· · ·operations team because I wasn't privy to

15· · ·everything that they did.

16· · · · · Q.· · ·When you had another discussion with

17· · ·the operations team about the subject, did you ask

18· · ·them to look into how it was that Hot Shots were

19· · ·becoming present in their stores, if any were

20· · ·present?

21· · · · · A.· · ·So during our conversations we

22· · ·reiterated that AVP and specifically Jill, right,

23· · ·had contacted me, right, and we reiterated the

24· · ·importance of our partners following our

25· · ·standards.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·Did you ever personally feel any

·3· · ·glimmer of a doubt that perhaps the message you

·4· · ·were communicating was not being understood by the

·5· · ·operations people you were communicating it to?

·6· · · · · · · · ·MR. MOY:· Objection.

·7· · · · · A.· · ·So being a part of the leadership

·8· · ·team meetings, there was no doubt in my mind that

·9· · ·the regional vice president and the regional

10· · ·director understood the importance, right, and

11· · ·acted upon that importance.

12· · · · · Q.· · ·And in terms of what actions they

13· · ·took, do you have any information that you haven't

14· · ·already shared?

15· · · · · A.· · ·No.· So the action that I can talk

16· · ·about is only the action that I observed, which

17· · ·was the invitations to the regional directors

18· · ·huddle with the district managers where they

19· · ·reiterated the importance of it.· Then the

20· · ·district managers huddles with their store

21· · ·managers where they reiterated the importance and

22· · ·the store manager huddles to the shift

23· · ·supervisors.· Outside of that, I -- I can't tell

24· · ·you what other actions they took.

25· · · · · Q.· · ·Posting a document, Kranz 17, it's a


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·three-page e-mail chain bearing Bates numbers DEF

·3· · ·151 through 153.

·4· · · · · · · · ·(Whereupon, Kranz Exhibit 17 was

·5· · · · · marked at this time.)

·6· · · · · A.· · ·Okay.

·7· · · · · Q.· · ·Mr. Kranz, if you could please, let

·8· · ·me know when you've had a chance to review the

·9· · ·document and then I'll begin questions.

10· · · · · A.· · ·I'm ready.

11· · · · · Q.· · ·Do you recognize all or any part of

12· · ·this document?

13· · · · · A.· · ·Yes, I do.

14· · · · · Q.· · ·What is it?

15· · · · · A.· · ·This was an e-mail that Tracy sent me

16· · ·after the New York Metro leadership team meeting

17· · ·where I presented, and she had to drop off a

18· · ·(unintelligible).· I believe it was ten, fifteen

19· · ·minutes, so she missed some of it; and Tracy's

20· · ·e-mail was just asking me if I had actually

21· · ·elaborated on the information that I spoke with

22· · ·her during our one-on-one conversation.

23· · · · · Q.· · ·And what is the weekly meeting that's

24· · ·referred to here?

25· · · · · A.· · ·So it's a New York Metro leadership


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·2· · ·team meeting.· So it's the weekly meeting that the

·3· · ·leadership team gathers around.

·4· · · · · Q.· · ·And I think we've touched on it, but

·5· · ·could you by position identify the participants in

·6· · ·a normal weekly leadership meeting?

·7· · · · · A.· · ·Yes.· Back when Ross was in charge

·8· · ·and the regional vice president it was the

·9· · ·regional directors, it was QA, and sometimes

10· · ·facilities.· When Tracy came onboard, she also put

11· · ·in a lot of the other cross-functional teams so

12· · ·there was design, there was construction, there

13· · ·was real estate, facilities was there, QA was

14· · ·there, the PNAP was there; so -- yep.

15· · · · · Q.· · ·And the format for these meetings

16· · ·would typically be a conference call or something

17· · ·else?

18· · · · · A.· · ·No, it was a in-person meeting, but

19· · ·it could also be -- you could also dial in.

20· · · · · Q.· · ·In connection with this specific

21· · ·meeting, were you in person or on the phone?

22· · · · · A.· · ·I was on the phone with this.

23· · · · · Q.· · ·Did you have a pre-drafted list of

24· · ·points or talking points or notes about what you

25· · ·were going to say on the call on this subject?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·I believe I did, yes.

·3· · · · · Q.· · ·If -- when you refer -- sorry.· On

·4· · ·the e-mail on the first page on the second half

·5· · ·from you to Tracy Gaven-Bridgeman on January 23rd,

·6· · ·2018, when you write "I did elaborate during the

·7· · ·call" and then you put these bullet points, is it

·8· · ·your testimony these bullet points are a summary

·9· · ·of what you communicated orally during the call?

10· · · · · A.· · ·My testimony will be that this is a

11· · ·summary of the highlights of some of the things

12· · ·that I mentioned during the call, not everything.

13· · · · · Q.· · ·How -- in terms of the organization

14· · ·or that agenda for the meetings do you have a

15· · ·regular speaking slot, is there a particular role

16· · ·that you play in addressing the group?

17· · · · · A.· · ·So this is a new -- so this is a

18· · ·leadership team meeting, so they do a business

19· · ·update and then everyone -- they do a round-robin,

20· · ·so everyone gets a chance to talk.

21· · · · · Q.· · ·And would this have been -- would

22· · ·this have been something that you communicated to

23· · ·the group during your slot to speak in the

24· · ·rotation?

25· · · · · A.· · ·Yes, it would have.


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·2· · · · · Q.· · ·How long do you believe it took you

·3· · ·to communicate this on the phone?

·4· · · · · A.· · ·I believe I took about fifteen

·5· · ·minutes.

·6· · · · · Q.· · ·In the bullet points, I would like to

·7· · ·just focus in on a couple of them.· The third,

·8· · ·could I ask you to read what's -- what you wrote

·9· · ·there.

10· · · · · A.· · ·"Partners have been abusing Hot Shots

11· · ·in the stores using up to ten Hot Shots on top of

12· · ·the menu board counters."

13· · · · · Q.· · ·Earlier we had seen an e-mail that

14· · ·referred to what -- that referred to nine or more

15· · ·Hot Shots on a counter, is that what you were

16· · ·referring to here?

17· · · · · A.· · ·If we can be specific, that was

18· · ·Jill's e-mail that referred to nine Hot Shots on

19· · ·the counter; only not nine or more.

20· · · · · Q.· · ·So when you wrote up to ten on top of

21· · ·the menu board, what were you referring to?

22· · · · · A.· · ·I was referring to that e-mail.         I

23· · ·just obviously made a mistake.

24· · · · · Q.· · ·The beginning of the sentence you

25· · ·wrote, "Partners have been abusing Hot Shots in


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·stores."· Did you have in mind anything, other

·3· · ·than the one example that you go on to give in

·4· · ·that sentence.

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·Unless I look through my notes and,

·7· · ·you know, what I mention there, I can't recall

·8· · ·exactly what examples I used.

·9· · · · · Q.· · ·Could I ask you to read the second to

10· · ·the last bullet point on that page.

11· · · · · A.· · ·"This is a serious condition that can

12· · ·cause food cross-contamination and food illness."

13· · · · · Q.· · ·Thank you, and then going up to the

14· · ·prior page, could I ask you to please read the

15· · ·second to the last bullet on -- at the bottom of

16· · ·that page.

17· · · · · A.· · ·Second to the last?

18· · · · · Q.· · ·Yes, on that first page.

19· · · · · A.· · ·Yes.· Okay.· "This would be discussed

20· · ·a few times before and the situation was

21· · ·improving."

22· · · · · Q.· · ·What are you referring to in that

23· · ·sentence.

24· · · · · A.· · ·So I'm referring to the communication

25· · ·that I had been giving the leadership team


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·2· · ·regarding the use of pesticides; and obviously at

·3· · ·that time I had not been hearing of the, you know,

·4· · ·Hot Shots or other pesticides being used, so my

·5· · ·opinion was that it was improving.

·6· · · · · Q.· · ·During what period of time did you

·7· · ·believe that it was improving versus being

·8· · ·constant or getting worse, like what is the date

·9· · ·range of time that you're referring to, if you're

10· · ·able to express it that way in the sentence?

11· · · · · · · · ·MR. MOY:· Objection.

12· · · · · A.· · ·So the date would be the first time

13· · ·Jill brought it to our attention to that

14· · ·particular time.

15· · · · · Q.· · ·Do you remember what month or year

16· · ·Jill first brought it to your attention?

17· · · · · A.· · ·I remember it being 2016.

18· · · · · Q.· · ·So from 2016 until January 23rd,

19· · ·2018, do you believe that the situation with Hot

20· · ·Shot use was improving in stores?

21· · · · · A.· · ·From my notes here, yes.

22· · · · · Q.· · ·And that's based on reports or

23· · ·information communicated to you about the

24· · ·existence of Hot Shots in stores?

25· · · · · A.· · ·What reports are you referring to?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·I'll ask a different question.

·3· · ·Just -- I just want to be clear when it was your

·4· · ·perception that from the first time Jill brought

·5· · ·it to your attention through January 23rd, 2018

·6· · ·that the situation had been improving, what is

·7· · ·your source of information for that conclusion?

·8· · · · · A.· · ·My source of information was the fact

·9· · ·that I wasn't being notified anymore about that

10· · ·and not that they weren't notifying me, I hadn't

11· · ·heard anything.· So that's why I said the

12· · ·situation seems to be improving.

13· · · · · Q.· · ·When you say you hadn't heard

14· · ·anything, more specifically haven't heard anything

15· · ·about what from whom?

16· · · · · A.· · ·I hadn't been notified about

17· · ·any -- any unauthorized, you know, chemical use in

18· · ·a store.

19· · · · · Q.· · ·Could I ask you about the last bullet

20· · ·on the first page.· Could you please read it for

21· · ·the record.

22· · · · · A.· · ·"Unfortunately, pest control recently

23· · ·found a Hot Shot located in the pastry case under

24· · ·the bagels."

25· · · · · Q.· · ·Do you have any information, beyond


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·what's written there, about that incident?

·3· · · · · A.· · ·I don't remember the store, but I do

·4· · ·remember the photo.

·5· · · · · Q.· · ·Was there any investigation or

·6· · ·inquiry made of anybody to determine how in the

·7· · ·heck a Hot Shot got into the pastry case under the

·8· · ·bagels?

·9· · · · · A.· · ·Again, that's a --

10· · · · · · · · ·MR. MOY:· Objection.

11· · · · · A.· · ·Sorry.· Again, that's operations and

12· · ·I don't have privy.· I'm not privy to that

13· · ·information.

14· · · · · Q.· · ·Do you have any information at all

15· · ·about how there came to be a Hot Shot under the

16· · ·bagels in the pastry case, as you've described it

17· · ·there?

18· · · · · A.· · ·No, I don't.

19· · · · · Q.· · ·And I know you've referred to

20· · ·operations and I appreciate it's not your job, but

21· · ·to the extent that you have any understanding at

22· · ·all is there a particular position level or

23· · ·individual in operations who you believe was the

24· · ·most responsible for overseeing the operations

25· · ·side based on your reports?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · · · · ·MR. MOY:· Objection.

·3· · · · · A.· · ·So the regional vice president is in

·4· · ·charge of the whole region.· So if there's one

·5· · ·person that's in charge of what's going on in the

·6· · ·region, then that's the person.

·7· · · · · Q.· · ·Did anybody make any comments or ask

·8· · ·any questions when you presented on this issue

·9· · ·during the meeting?

10· · · · · A.· · ·I'm sure they did, but I don't

11· · ·remember what the comments or questions were.· It

12· · ·was two years ago.

13· · · · · Q.· · ·Have you ever been present for any

14· · ·communication where it was discussed what actions

15· · ·operations would take to resolve the issue?

16· · · · · A.· · ·The only -- the only time I was

17· · ·present was during a New York, you know,

18· · ·leadership team meeting where the regional

19· · ·directors -- you know, where the regional

20· · ·directors said that they'll communicate and

21· · ·cascade that message down and they kept

22· · ·reiterating the importance of it.

23· · · · · Q.· · ·And was that also that course of

24· · ·action that was discussed when you presented at

25· · ·this meeting?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·I don't remember if we discussed it

·3· · ·there at this specific meeting or not.

·4· · · · · Q.· · ·I have a question just about the

·5· · ·e-mail footer in your forwarding e-mail to

·6· · ·opposing counsel.· It says "company counsel" on

·7· · ·top.· The title there for you is "Manager, Quality

·8· · ·Assurance, New York Metro and New Jersey region."

·9· · ·Was that the title throughout your tenure or did

10· · ·it change at some point?

11· · · · · A.· · ·It changed.· So when I was promoted

12· · ·in Starbucks, when you put manager first and then

13· · ·quality assurance second, that manager then notes

14· · ·that you're a people manager.

15· · · · · Q.· · ·Did any of the -- withdrawn.

16· · · · · · · · ·Could you confirm, what was Tracy

17· · ·Gavin-Bridgeman's position at the time?

18· · · · · A.· · ·She was the regional vice president.

19· · · · · Q.· · ·Is there a reason why you cc'd all of

20· · ·the other individuals who you included in your

21· · ·e-mail to Tracy?

22· · · · · A.· · ·Yes, because the e-mails.· Sorry,

23· · ·Tracy's e-mails to me cc'd everyone.

24· · · · · Q.· · ·Did any of the individuals who are

25· · ·listed as cc's there follow up or communicate with


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·you at all about the subject of the e-mail?

·3· · · · · A.· · ·Not that I can recall; and if there

·4· · ·isn't any other pages to this, then I would say

·5· · ·no.· Again my -- my e-mail was to Tracy just

·6· · ·to -- just to let her know what I discussed at the

·7· · ·New York Metro leadership team meeting with

·8· · ·everyone that was cc'd, so they were already there

·9· · ·for it.

10· · · · · Q.· · ·So apart from in response to this

11· · ·e-mail -- I'll ask differently.· After that

12· · ·meeting that's summarized in this e-mail, did any

13· · ·of the participants ever follow up with any

14· · ·questions or followup information in response to

15· · ·your presentation?

16· · · · · A.· · ·Not that I recall.

17· · · · · Q.· · ·One of the individuals listed as a cc

18· · ·here is Carla Ruffin.· Were you familiar with her?

19· · · · · A.· · ·Yes.

20· · · · · Q.· · ·What was her position?

21· · · · · A.· · ·Carla was the regional director.

22· · · · · Q.· · ·Did you ever communicate with Ms.

23· · ·Ruffin about Hot Shots or pesticides in any kind

24· · ·of one-on-one communications separate from these

25· · ·group meetings?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·Yes.· So during my one on ones I

·3· · ·reiterated the same a message that I had at the

·4· · ·New York Metro leadership meeting; not all of

·5· · ·these points specifically, but specifically just

·6· · ·be aware of, you know, past usage and be aware in

·7· · ·stores, and keep the message alive and keep it

·8· · ·important with the district managers and store

·9· · ·managers and ASMs and shifts.

10· · · · · Q.· · ·Do you know what number, if any, Hot

11· · ·Shot devices were located in Carla Ruffin's region

12· · ·during your tenure?

13· · · · · A.· · ·I didn't keep any reports and I

14· · ·didn't keep any track of Hot Shots, not stores nor

15· · ·where they were, so I -- I couldn't give you a

16· · ·number.

17· · · · · Q.· · ·As far as you know, did anybody at

18· · ·the company in any form keep track?

19· · · · · A.· · ·As far as I know, no.

20· · · · · Q.· · ·You can put this document aside.

21· · · · · · · · ·Posting a two-page document labeled

22· · ·"Exhibit Kranz 45, Bates numbered DEF 144, 145.

23· · · · · · · · ·(Whereupon, Kranz Exhibit 45 was

24· · · · · marked at this time.)

25· · · · · A.· · ·Okay, I'm ready.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · Q.· · ·Mr. Kranz, this appears to be an

·3· · ·e-mail chain comprised of only two e-mails.· The

·4· · ·e-mail at the top again looks like it's a forward

·5· · ·of the original e-mail by you to the company's

·6· · ·counsel in February, 2019; is that a correct

·7· · ·interpretation of the document?

·8· · · · · A.· · ·Yes, it is.

·9· · · · · Q.· · ·So focusing on the e-mail below that,

10· · ·who was Ron Schuler at the time that you wrote

11· · ·this January 23rd, 2018?

12· · · · · A.· · ·Ron Schuler was a regional director.

13· · · · · Q.· · ·And who was Taz Mbodje at that time?

14· · · · · A.· · ·District manager.

15· · · · · Q.· · ·The subject line is "Hot Shot in

16· · ·Pastry Case Number 28168.· Why did you write this

17· · ·e-mail to those two individuals?

18· · · · · A.· · ·So obviously the Store Number 28168

19· · ·is in Ron's district and he has a -- this district

20· · ·as well.

21· · · · · Q.· · ·Can I ask you to please read the text

22· · ·of your short e-mail for the record.

23· · · · · A.· · ·It says "Hi, Ron:· A Hot Shot was

24· · ·found in the pastry case under the bagels in store

25· · ·numbered 28168.· Please advise team that Hot Shots


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·are insecticides and can cause foodborne illness

·3· · ·if located near food items" and then just says

·4· · ·"Thank you."

·5· · · · · Q.· · ·When you in that last sentence asked

·6· · ·him to advise the team that information, is that

·7· · ·something that you had already urged regional and

·8· · ·district managers to pass along to their team?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · A.· · ·No, it wasn't.· So my communication

11· · ·with the regional directors and the regional vice

12· · ·president and the leadership team was more about

13· · ·the Starbucks policy about not using any

14· · ·pesticides and following the Starbucks standards.

15· · · · · · · · ·This sentence of "Please advise team

16· · ·that Hot Shots are insecticides and can cause

17· · ·foodborne illness if located near food items,"

18· · ·that was me emphasizing the point with Ron and

19· · ·Taz, Starbucks counter food is a part of safety

20· · ·and is very high in the culture.· It's in the

21· · ·mission statement, it's part of, you know, our

22· · ·whole culture and using that statement was just a

23· · ·way to emphasize it more with them.

24· · · · · Q.· · ·Have you -- okay.· So previously

25· · ·prior to this e-mail, had you communicated to Mr.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·Schuler that "Hot Shots are insecticides and can

·3· · ·cause foodborne illness if located near food

·4· · ·items"?

·5· · · · · A.· · ·I'm sure that previously I would have

·6· · ·probably during a one on one.· I'm not sure if I

·7· · ·did it in other e-mails, but yes.· You know it was

·8· · ·a way of me emphasizing the importance to them.

·9· · · · · Q.· · ·And is that something you had also

10· · ·previously communicated to Taz Mbodje?

11· · · · · A.· · ·If I talked with Taz before this

12· · ·then, yes, it would have been; so but during our

13· · ·one on one with the district managers, that's

14· · ·something that I probably would have mentioned to

15· · ·them, again, to emphasize the importance of it on

16· · ·the inside.

17· · · · · Q.· · ·What is the source of your

18· · ·information or knowledge of the statement that

19· · ·"Hot Shots can cause foodborne illness if located

20· · ·near food items"?· Where did you learn that?

21· · · · · A.· · ·Well, so that's just

22· · ·cross-contamination what we're talking about here

23· · ·or what I'm talking about here.· So if there is

24· · ·any chance of cross-contamination happening then,

25· · ·yes, it can -- can cause a foodborne illness.


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·2· · · · · Q.· · ·Did you ever ask anybody anything or

·3· · ·take any action to determine whether there had

·4· · ·been cross-contamination, as referenced here, in

·5· · ·any stores?

·6· · · · · A.· · ·There was no incident that I'm aware

·7· · ·of any of any of our partners being ill or feeling

·8· · ·any ill effects.

·9· · · · · Q.· · ·Were partners ever asked purposefully

10· · ·hey, do you feel ill, you might have been exposed

11· · ·to something?

12· · · · · · · · ·MR. MOY:· Objection.

13· · · · · A.· · ·Again, I'm not aware of that and,

14· · ·again, it wouldn't have been my role or

15· · ·responsibility for them to report to me that.

16· · · · · Q.· · ·Do you know one way or another, as

17· · ·you sit here today, whether any partners have

18· · ·become ill in connection with Hot Shots?

19· · · · · A.· · ·As of -- as I said before, I'm not

20· · ·aware of anyone being ill from anything in our

21· · ·stores related to pesticide use.

22· · · · · Q.· · ·Is that information that you expect

23· · ·would have been shared with you if it had ever

24· · ·found to -- have been found to be true?

25· · · · · A.· · ·It's a possibility that it could be


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·shared with me, but it may not have been either.

·3· · · · · Q.· · ·Did you ever yourself investigate or

·4· · ·direct anybody else to investigate whether the

·5· · ·manner in which Hot Shots had been placed in any

·6· · ·store did or did not cause cross-contamination?

·7· · · · · · · · ·MR. MOY:· Objection.

·8· · · · · A.· · ·It was -- there's been no cases of

·9· · ·cross-contamination nor pesticides in any of our

10· · ·stores so there was no investigation, there was

11· · ·nothing needed.

12· · · · · Q.· · ·How do you know that there wasn't

13· · ·cross-contamination if there was no investigation

14· · ·to ascertain whether there might have been?

15· · · · · A.· · ·That is part of my role and

16· · ·responsibility and I would have been informed

17· · ·about that.

18· · · · · Q.· · ·I just want to be clear, I'm

19· · ·trying -- maybe I'm not asking the question

20· · ·clearly.· I understood cross-contamination is when

21· · ·a chemical moves from one place into something

22· · ·nearby it, is that how you're using the phrase?

23· · · · · A.· · ·Cross-contamination will be when a

24· · ·product is contaminated with another product.

25· · · · · Q.· · ·How do you determine whether that


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·2· · ·contamination has occurred?

·3· · · · · A.· · ·Usually we'll --

·4· · · · · · · · ·MR. MOY:· Objection.

·5· · · · · A.· · ·Well, first of all, it hasn't

·6· · ·occurred; but how -- how do I get notified?

·7· · · · · Q.· · ·I'll ask differently.

·8· · · · · A.· · ·Okay.

·9· · · · · Q.· · ·In general, how is it possible to

10· · ·determine whether a particular food item has been

11· · ·cross-contaminated by a Hot Shot; How would one go

12· · ·about determining if that had happened or not?

13· · · · · · · · ·MR. MOY:· Objection.

14· · · · · A.· · ·You -- you need to be a little more

15· · ·specific on that because -- are you asking how do

16· · ·I determine if I'm looking at a product if it's

17· · ·been contaminated.

18· · · · · Q.· · ·Yes, yeah.· What are the means of

19· · ·determining whether a product is contaminated that

20· · ·you're familiar with?

21· · · · · · · · ·MR. MOY:· Objection.

22· · · · · A.· · ·So, okay, if a product is in close

23· · ·proximity, right, of the pesticides where there's

24· · ·a chance that it can cross-contaminate it then,

25· · ·yes, you can figure out that this product may have


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·2· · ·been cross-contaminated; but that's not what we

·3· · ·were talking before.

·4· · · · · · · · ·So we -- we were discussing, you

·5· · ·know, how I'd get notified or how do I find out,

·6· · ·and that's usually through the Department of

·7· · ·Health and the Department of Health finds out

·8· · ·through the medical doctors.· So if someone is ill

·9· · ·and they go to a doctor, they determine what

10· · ·happened, they then have to report that to the

11· · ·Department of Health and that comes across my desk

12· · ·and that's my role and responsibility.

13· · · · · Q.· · ·As far as you know, were customers

14· · ·ever notified that they may have been exposed to

15· · ·DDVP at Starbucks?

16· · · · · · · · ·MR. MOY:· Objection.

17· · · · · A.· · ·Again, that's not my responsibility I

18· · ·don't deal with customers at all.

19· · · · · Q.· · ·Other than getting reports of

20· · ·illness, are there other methods that you're

21· · ·familiar with from your training or experience at

22· · ·Starbucks for determining whether a particular

23· · ·food item has been cross-contaminated?

24· · · · · A.· · ·No.

25· · · · · Q.· · ·Is there any reason to imagine that


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·2· · ·Hot Shots in Starbucks stores if placed in close

·3· · ·proximity to food would not result in

·4· · ·cross-contamination?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·I need more clarity on that, please.

·7· · · · · Q.· · ·You had mentioned that generally if

·8· · ·two items are close to each other, then you can

·9· · ·infer that there may have been

10· · ·cross-contamination?

11· · · · · A.· · ·Correct.

12· · · · · Q.· · ·As far as you know, were Hot Shots

13· · ·ever placed in Starbucks stores in a method that

14· · ·would prevent cross-contamination?

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·What do you mean by "prevent

17· · ·cross-contamination"?

18· · · · · Q.· · ·Eliminate the concern or inference

19· · ·that cross-contamination may have occurred.

20· · · · · · · · ·MR. MOY:· Objection.

21· · · · · A.· · ·Just to clarify, are you asking me if

22· · ·I've seen a Hot Shot placed in a store that

23· · ·wouldn't cross-contaminate any food?

24· · · · · Q.· · ·Yes.

25· · · · · A.· · ·Then, yes, I have.


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·2· · · · · Q.· · ·Where have you seen Hot Shots in

·3· · ·stores in a way that would not risk

·4· · ·cross-contamination with food?

·5· · · · · A.· · ·I've seen them in the back of house

·6· · ·on top of the double-door refrigerator.

·7· · · · · Q.· · ·For people who aren't intimately

·8· · ·familiar with the layout of the Starbucks, could

·9· · ·you explain where in the store that would be?

10· · · · · A.· · ·The back of house?

11· · · · · Q.· · ·And the refrigerators that you're

12· · ·referring to, yes.

13· · · · · A.· · ·They're double-door refrigerators

14· · ·probably about six-and-a-half foot tall.

15· · · · · Q.· · ·And where are they in the back of

16· · ·house area?

17· · · · · A.· · ·They're --

18· · · · · · · · ·MR. MOY:· Objection.

19· · · · · A.· · ·It's -- you can't give -- I can't

20· · ·give you a specific spot because every store

21· · ·layout is different.

22· · · · · Q.· · ·In this specific instance when you

23· · ·saw Hot Shots in that location back of house on

24· · ·top of the refrigerators double-doors.

25· · · · · A.· · ·Okay, so that one was -- I don't


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·2· · ·remember the exact store, but I do remember it

·3· · ·wasn't next to the manager's desk.· It wasn't next

·4· · ·to the three-comp sink as well.

·5· · · · · Q.· · ·How far was it from the manager's

·6· · ·desk?

·7· · · · · A.· · ·I didn't measure it, but it wasn't

·8· · ·close enough.

·9· · · · · Q.· · ·Do employees work in the back of

10· · ·house?

11· · · · · A.· · ·No.· So they do some prep area, but

12· · ·their work is actually the front of house.

13· · · · · Q.· · ·How far from back of house in terms

14· · ·of feet or yards at this location?

15· · · · · A.· · ·I can only guess.· I didn't measure

16· · ·anything.

17· · · · · Q.· · ·How many Hot Shots did you see on

18· · ·that occasion?

19· · · · · A.· · ·One.

20· · · · · Q.· · ·Is that something you saw in person

21· · ·while you were physically present or a photograph?

22· · · · · A.· · ·I believe it's something that I found

23· · ·physically.

24· · · · · Q.· · ·Do you remember when that happened?

25· · · · · A.· · ·I don't remember the date, time, or


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·store number.

·3· · · · · Q.· · ·What, if anything, did you do if you

·4· · ·remember once you saw that it was there?

·5· · · · · A.· · ·Well, I notified the leadership

·6· · ·teams.· I notified the RVP and the regional

·7· · ·directors, the district manager would have been

·8· · ·right with me and I disposed of it; and from my

·9· · ·memory, I believe it was also, you know, an older

10· · ·Hot Shot.· I can't tell you how old, but it was

11· · ·very dusty.

12· · · · · Q.· · ·If you remember earlier in the

13· · ·deposition you had referred to one instance when

14· · ·you had found an old Hot Shot, is this one and the

15· · ·same or two instances?

16· · · · · A.· · ·I think the last one -- this could be

17· · ·the last one.· Two instances; two separate.

18· · · · · Q.· · ·You can put aside Exhibit 45.

19· · · · · · · · ·MR. GRAFF:· Why don't we take a short

20· · · · · break, it's 2:36.· Let's come back at 2:45.

21· · · · · Off the record.

22· · · · · · · · ·(Whereupon, there was a brief recess

23· · · · · in the proceedings.)

24· · · · · · · · ·MR. GRAFF:· Let's go back on the

25· · · · · record, 2:47.


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·2· · · · · Q.· · ·Mr. Kranz, during the break did you

·3· · ·communicate with anyone other than counsel?

·4· · · · · A.· · ·No, I didn't.

·5· · · · · Q.· · ·Did you read anything?

·6· · · · · A.· · ·No, I haven't.

·7· · · · · Q.· · ·Earlier we had been talking about

·8· · ·illness that could result from cross-contamination

·9· · ·of food and DDVP.· Do you have any knowledge or

10· · ·understanding of what sort of symptoms or

11· · ·manifestations an illness caused by that exposure

12· · ·might take?

13· · · · · · · · ·MR. MOY:· Objection.

14· · · · · A.· · ·So for cross-contamination of food

15· · ·no, I don't.· I can only tell you from -- from an

16· · ·EMT what organophosphate looks like.

17· · · · · Q.· · ·Could you the explain that please?

18· · · · · A.· · ·We got taught the acronym SLUDGEM,

19· · ·S-L-U-D-G-E-M, for organophosphate poisoning; and

20· · ·then we also got taught that the antidote or the

21· · ·-- or the treatment would be Atropine, 2

22· · ·milligrams IVIN.

23· · · · · Q.· · ·As far as you know, could DDVP

24· · ·trigger an asthma attack in an asthmatic if they

25· · ·were exposed?


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·2· · · · · · · · ·MR. MOY:· Objection.

·3· · · · · A.· · ·As far as I know, I don't -- unless I

·4· · ·read the label, I don't recall ever hearing that.

·5· · · · · Q.· · ·Are you familiar with something

·6· · ·called an HHCP manual in Stores?

·7· · · · · A.· · ·A HHCP manual?

·8· · · · · Q.· · ·Yes.

·9· · · · · A.· · ·No.

10· · · · · Q.· · ·The SLGM acronym, what does that

11· · ·refer to?

12· · · · · A.· · ·So what acronym?

13· · · · · · · · ·MR. MOY:· Objection.

14· · · · · Q.· · ·The SLUDGEM acronym in connection.

15· · · · · A.· · ·SLUDGEM.

16· · · · · Q.· · ·SLUDGEM.

17· · · · · A.· · ·Salivation, lacrimation, urination,

18· · ·defecation, gastric emesis and miosis.

19· · · · · Q.· · ·If I could refer you back to a prior

20· · ·exhibit, Exhibit 13 for just a moment.

21· · · · · A.· · ·Yes.

22· · · · · Q.· · ·If you need to take a second to

23· · ·remind yourself what this is, let me know.

24· · · · · A.· · ·Okay.

25· · · · · Q.· · ·Why did you write "My apologies to


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·the tech" in your response to Ms. Shwiner's

·3· · ·e-mail?

·4· · · · · A.· · ·I was being nice.· So Jill said that

·5· · ·the tech had found No-Pest Strip on the desk.· She

·6· · ·also mentioned that yesterday's tech was working

·7· · ·under the counter and turned and his head was

·8· · ·inches from the strip.· She was complaining about

·9· · ·it and she was obviously upset, that I gathered

10· · ·from the e-mail that she sent me.· So I thought it

11· · ·was appropriate to apologize.

12· · · · · Q.· · ·Were you aware at the time -- in

13· · ·Jill's e-mail she writes "This is the same tech

14· · ·who two weeks ago walked into a store that had

15· · ·just set off bombs."· Do you know the identity of

16· · ·the tech, who she's referring to?

17· · · · · A.· · ·I -- no, I don't believe I do.· She

18· · ·didn't mention it.

19· · · · · Q.· · ·You can put that aside.

20· · · · · A.· · ·Okay.

21· · · · · Q.· · ·I posted a document labeled Exhibit

22· · ·Kranz 3.· It's one page Bates numbered 29994.

23· · · · · · · · ·(Whereupon, Kranz Exhibit 3 was

24· · · · · marked at this time.)

25· · · · · A.· · ·Okay.


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·2· · · · · Q.· · ·Do you recognize any of this

·3· · ·document?

·4· · · · · A.· · ·I don't remember the specific

·5· · ·incident, no.

·6· · · · · Q.· · ·Do you recognize the form of the

·7· · ·document as an e-mail chain that you are copied on

·8· · ·and responded to?

·9· · · · · A.· · ·Yes.

10· · · · · Q.· · ·I would like to direct your attention

11· · ·toward the bottom of the page.· The first e-mail

12· · ·in the sequence is from Kimberly Healy on January

13· · ·19, 2018 to you and the three other individuals,

14· · ·"Subject:· Hot Shot Citing."· Do you see that part

15· · ·of the document?

16· · · · · A.· · ·Yes, I do.

17· · · · · Q.· · ·Who was Kimberly Healy at the time?

18· · · · · A.· · ·She was a facility manager.

19· · · · · Q.· · ·Do you know who she reported to?

20· · · · · A.· · ·She reported to Stephen at the time.

21· · · · · Q.· · ·Could you state his full name just,

22· · ·so the record is clear?

23· · · · · A.· · ·Stephen Gallant.

24· · · · · Q.· · ·Do you believe you read the e-mail at

25· · ·the time or around the time it was sent?


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·2· · · · · A.· · ·If I read the e-mail?· Yes, I would

·3· · ·have read the e-mail.· I don't see it, though.

·4· · · · · Q.· · ·Do you know if you -- could I ask you

·5· · ·to read the sentence, the longer sentence, that

·6· · ·makes the body of her e-mail.· It has some jargon.

·7· · ·I'll ask you if you can explain what the words

·8· · ·mean.

·9· · · · · A.· · ·"In addition to the 3 - DRs reaching

10· · ·fridge, missing its top cover, having excessive

11· · ·buildup and debris, five Hot Shots found.· Also

12· · ·found another two in the base of the hot water

13· · ·heater.· (Jasmine similar to 7465, 59th and

14· · ·Columbus with Carey)."

15· · · · · Q.· · ·Do you have an understanding of what

16· · ·she's describing as far as "two in the base of the

17· · ·hot water heater"?

18· · · · · A.· · ·Again, I'm -- I'm not Kim and I can't

19· · ·tell you what she was thinking when she was

20· · ·writing it.· I can just explain, you know -- from

21· · ·my point of view, you know, I could tell you what

22· · ·I'm thinking, but I can't tell you what Kim's

23· · ·thinking.

24· · · · · Q.· · ·Sure.· When you see those words, what

25· · ·do they mean to you?


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·2· · · · · A.· · ·So the hot water heaters have like a

·3· · ·metal lip around them, almost like a basin; you

·4· · ·know, it's a two-inch basin in case it leaks.· I'm

·5· · ·assuming that Kim meant that it was in the base of

·6· · ·that hot water heater, but again I'm not Kim and I

·7· · ·don't know what she was thinking when she wrote

·8· · ·it.

·9· · · · · Q.· · ·Did you ever have any followup

10· · ·communications with Ms. Healy, other than what's

11· · ·in this e-mail?

12· · · · · A.· · ·I don't remember.· I don't even

13· · ·remember like the e-mail being sent out until you

14· · ·just showed me now.

15· · · · · Q.· · ·Right above that part that you read

16· · ·it says, "Sharing M - Rockefeller Concourse."

17· · ·Does that mean anything to you in the context of

18· · ·Starbucks?

19· · · · · A.· · ·Yes -- so, well, Rockefeller

20· · ·Concourse is one of our stores.

21· · · · · Q.· · ·Is sharing a store or --

22· · · · · A.· · ·So sharing is not a store.

23· · · · · Q.· · ·Okay.

24· · · · · A.· · ·So, you know, again, you know, just

25· · ·to -- I could tell you what I took from that, but


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·not what Kim was writing up; but sharing is the

·3· · ·sharing her thoughts on the business from

·4· · ·Rockefeller Center.

·5· · · · · Q.· · ·Thank you.· Thank you.· I wasn't sure

·6· · ·if sharing meant something beyond that.

·7· · · · · A.· · ·No.

·8· · · · · Q.· · ·In the parenthetical at the end of

·9· · ·the sentence that she writes she says, "(Jasmine

10· · ·similar to" I guess the store number and address.

11· · ·Do you have any information about what she's

12· · ·referring to there, is the reference familiar?

13· · · · · A.· · ·This reference isn't jogging my

14· · ·memory, but again, you know, it's -- it's over two

15· · ·years ago now.

16· · · · · Q.· · ·Apart from what's in this e-mail, did

17· · ·you ever give any direction to Ms. Healy or

18· · ·anybody in facilities about how to handle Hot

19· · ·Shots if they discovered them?

20· · · · · · · · ·MR. MOY:· Objection.

21· · · · · A.· · ·So again, you know, I've been asked,

22· · ·you know, by some of the -- again, I can't, you

23· · ·know, remember who exactly, you know, a safe way

24· · ·of disposing of them.· So my personal opinion was

25· · ·to -- like I mentioned prior, was to grab a


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·rubbish bag, invert it, grab the Hot Shot, pull it

·3· · ·through, tie a knot and dispose of it in the

·4· · ·rubbish bin.

·5· · · · · Q.· · ·It appears that Ms. Healy sent a

·6· · ·followup e-mail on April 13th at 7:40 p.m. and

·7· · ·that you then responded to her followup e-mail; is

·8· · ·that how you're reading the chain?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · Q.· · ·Another way to ask it:· Your e-mail

11· · ·at the top of the page to, what e-mail below were

12· · ·you responding?

13· · · · · A.· · ·So, yup, I was responding back to

14· · ·Kim, Kim Healy.

15· · · · · Q.· · ·What did you write?

16· · · · · A.· · ·I wrote "Thank you, Kim.· I'll

17· · ·discuss with leadership team."

18· · · · · Q.· · ·Did you discuss it with the

19· · ·leadership team?

20· · · · · A.· · ·Yes.· If I said to Kim I'll discuss

21· · ·it then, yes, I would have.

22· · · · · Q.· · ·Do you know whether the leadership

23· · ·team or any members of the leadership team decided

24· · ·to take any action based on the information?

25· · · · · · · · ·MR. MOY:· Objection.


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·2· · · · · A.· · ·Again, you know, I'm the consultant,

·3· · ·I'm the coach.· That's -- you know, that's not my

·4· · ·role and responsibility.· That was the regional

·5· · ·vice president, the regional director's, role and

·6· · ·responsibilities, to ensure that our standards are

·7· · ·upheld.· So after I give them the information and

·8· · ·after I coach them, right, they do take that, but

·9· · ·what they do with it specifically I don't know

10· · ·because I wasn't privy.

11· · · · · Q.· · ·In connection with the weekly

12· · ·leadership team meetings, is there a written

13· · ·agenda that's distributed in connection with the

14· · ·meeting?

15· · · · · A.· · ·No, there isn't.

16· · · · · Q.· · ·Is there a meeting summary that gets

17· · ·circulated after the meeting?

18· · · · · A.· · ·No, there isn't.

19· · · · · Q.· · ·If you wanted to determine with

20· · ·certainty the dates of meetings when you addressed

21· · ·that pest use concerns, would there be any

22· · ·document or source that you could refer to for

23· · ·that information?

24· · · · · A.· · ·No, there wouldn't; and I can tell

25· · ·you that at that period from -- you know, from the


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·time that Jill sent me the first e-mail that on a

·3· · ·regular basis, almost weekly, I was discussing it

·4· · ·in the leadership team meetings, just keeping it

·5· · ·at the forefront of everyone's mind.· Even though

·6· · ·the leadership team already knew about it and even

·7· · ·though they were already discussing it and

·8· · ·communicating with their team that I saw, you

·9· · ·know, myself, you know, I said -- I still kept

10· · ·talking about it and discussing it.

11· · · · · Q.· · ·Was it your impression that whatever

12· · ·the leadership team was doing, I know you weren't

13· · ·privy, was sufficient to curtail the problem?

14· · · · · · · · ·MR. MOY:· Objection.

15· · · · · A.· · ·Hard to tell because I wasn't privy

16· · ·to what they were -- how they were handling it, so

17· · ·I wasn't privy to how it was working or not.

18· · · · · Q.· · ·Was there ever any discussion that

19· · ·you were a part of about why it was that this

20· · ·problem was recurring and not stamped out?

21· · · · · · · · ·MR. MOY:· Objection.

22· · · · · A.· · ·There wasn't a discussion per se

23· · ·about why they kept doing it.· There was just a

24· · ·discussion about ensuring that the partners knew

25· · ·the Starbucks standards and ensuring that, you


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·2· · ·know, the message was clear that we -- we don't

·3· · ·allow, you know, the store managers or the store

·4· · ·partners to treat the stores' pest issues.

·5· · · · · · · · ·That's why, you know, Starbucks has

·6· · ·got a lot of resources; you know, we can utilize

·7· · ·the resources.· And one of the resources are the

·8· · ·pest vendors, another one is the cleaning crew,

·9· · ·another one is having cross-functional teams.

10· · ·We've got a facilities manager that will help you.

11· · ·You've got the QA manager that can help.· We've

12· · ·even got design people, you know, and handyman

13· · ·people that can help if there's other issues that

14· · ·we need to solve.

15· · · · · Q.· · ·Do you have any theory or something

16· · ·better than a guess as to why it would be that

17· · ·people would continue to place Hot Shots in

18· · ·stores, what their motivation could be?

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·So you're asking me to -- you're

21· · ·asking me to discuss what store partners were

22· · ·thinking when they did that.· I can't answer that

23· · ·I don't know.

24· · · · · Q.· · ·In the course of your work in

25· · ·quantity assurance and all of the messages you've


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·2· · ·given about this, did you ever wonder what the

·3· · ·motivation was for people to not be following your

·4· · ·guidance or did you have some sense of why they

·5· · ·were motivated to violate it?

·6· · · · · A.· · ·I often wondered and I often try to

·7· · ·think about why those do that but again, you know,

·8· · ·I'm not a store partner and I wasn't the one doing

·9· · ·it and I, you know, couldn't tell you for certain

10· · ·what they were thinking when they did that.          I

11· · ·personally, you know, think that it's a lot easier

12· · ·to pick up a phone, right, make a call to the FPC

13· · ·and get the pest vendors in there and let them

14· · ·treat it than it is, you know, to do anything

15· · ·else.

16· · · · · Q.· · ·Posting a document labeled Exhibit

17· · ·Kranz 1.· It a three-page document.· It's a

18· · ·depiction of the label on a Hot Shot product.

19· · · · · · · · ·(Whereupon, Kranz Exhibit 1 was

20· · · · · marked at this time.)

21· · · · · Q.· · ·Mr. Kranz, have you had an

22· · ·opportunity to review the document?

23· · · · · A.· · ·So I'm still reading Page 2.

24· · · · · Q.· · ·Take your time.

25· · · · · A.· · ·Okay.


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·2· · · · · Q.· · ·Do you recognize the document?

·3· · · · · A.· · ·Yes, I do.· It's a label for No-Pest

·4· · ·Strip.

·5· · · · · Q.· · ·Is this something that you've seen or

·6· · ·reviewed before?

·7· · · · · A.· · ·Yes, I have seen this.

·8· · · · · Q.· · ·When we've been referring to Hot

·9· · ·Shots and DDVP strips in stores, is it your

10· · ·understanding this is the product?

11· · · · · A.· · ·Yes, it is.· Or one of the products,

12· · ·I guess.· I mean, I don't know how many of them

13· · ·are out in the market.

14· · · · · Q.· · ·Could I direct your attention,

15· · ·please, to the third page toward the top.· There's

16· · ·just some details there.

17· · · · · A.· · ·What does it start with, "Garages"?

18· · · · · Q.· · ·Yes.· So you if go down three lines

19· · ·towards the middle, do you see it says "165 gram

20· · ·strip" --

21· · · · · A.· · ·Yes.

22· · · · · Q.· · ·-- "will treat 900 to 1,200 cubic

23· · ·feet, which is about equal to an average room 10

24· · ·feet by 13 feet with an 8 foot ceiling."

25· · · · · · · · ·Earlier I know you said layouts, it


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·2· · ·varies; but generally the back of house by the

·3· · ·refrigerators where you had noted that you saw

·4· · ·DDVP strips that were being used not improperly,

·5· · ·is that back of house space generally bigger or

·6· · ·smaller than 10 feet by 13 feet?

·7· · · · · A.· · ·The --

·8· · · · · · · · ·MR. MOY:· Objection.

·9· · · · · A.· · ·I apologize, I can't answer that

10· · ·because I don't work in feet.· I'm sorry.· I work

11· · ·in like meters, kilometers, centimeters.         I

12· · ·apologize; and I'm not sure what 10 by 13 is.          I

13· · ·mean, I know what's 10 by 13 feet, but I don't

14· · ·know how big that is.

15· · · · · Q.· · ·Okay.· Just give me twenty seconds,

16· · ·I'll ask the Internet.

17· · · · · · · · ·MR. MOY:· I'll object to that.

18· · · · · Q.· · ·So it looks like ten feet is about 3

19· · ·meters and 13 feet is about 4 meters?

20· · · · · A.· · ·Okay.

21· · · · · Q.· · ·Mr. Kranz, is the back of house area

22· · ·in the Starbucks store that you saw bigger or

23· · ·smaller than 3 meters by 4 meters.

24· · · · · · · · ·MR. MOY:· Objection.

25· · · · · A.· · ·Which incident are you referring to?


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·2· · · · · Q.· · ·I'm sorry, I can't hear if there was

·3· · ·a response.

·4· · · · · A.· · ·Which incident are you referring to?

·5· · ·You're asking me to mention if the back of house

·6· · ·was bigger than 3 by 4 meters?

·7· · · · · Q.· · ·Yeah.· Earlier you had mentioned -- I

·8· · ·had asked if you ever saw a Hot Shot used in a

·9· · ·permissible way and you had referenced in the back

10· · ·of house there were some refrigerators and that

11· · ·was a permissible space.· With reference to that

12· · ·back of house area, can you estimate if it was

13· · ·bigger or smaller than 3 meters by 4 meters?

14· · · · · A.· · ·I can estimate now.

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·I can estimate that it was bigger

17· · ·than 3 to 4 meters; but then that's just from my

18· · ·recollection when I found it and just seeing it,

19· · ·but I can't recall the exact store.

20· · · · · Q.· · ·Slightly below that, there is a

21· · ·subsection headed "Storage and Disposal."· Do you

22· · ·see what the instruction is for "disposal if

23· · ·empty"?

24· · · · · A.· · ·"Place in trash or offer for

25· · ·recycling, if available."


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·2· · · · · Q.· · ·And what does empty mean in the

·3· · ·context of one of these devices?

·4· · · · · A.· · ·Well --

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·So according to the label, empty

·7· · ·would mean when there's no more pesticide on the

·8· · ·strip.

·9· · · · · Q.· · ·And then do you see it goes on to say

10· · ·what to do if it's partly filled?

11· · · · · A.· · ·Uh-huh.

12· · · · · Q.· · ·What does it say to do there?

13· · · · · A.· · ·"Call your solid waste agency for

14· · ·disposal instructions.· Never place unused product

15· · ·down an indoor or outdoor drain."

16· · · · · Q.· · ·Did you ever seek a disposal as

17· · ·disposal -- excuse me.· Did you ever seek disposal

18· · ·instructions from any waste agency in connection

19· · ·with the disposal of Hot Shots?

20· · · · · A.· · ·There was no need.· So if you

21· · ·remember, I said that the Hot Shot was very dusty

22· · ·and very old.· It was obviously older than four

23· · ·months; there was no need for it.

24· · · · · Q.· · ·I believe you also mentioned that you

25· · ·had encouraged operations people to bag it and


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·2· · ·throw it out, if they found it.· Did I

·3· · ·misunderstand or was that also part of your

·4· · ·testimony?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·I didn't encourage them, but when

·7· · ·they asked me a safe way then, yes, that was what

·8· · ·I -- you know, what I explained to them.

·9· · · · · Q.· · ·And on the occasions when that's come

10· · ·and you've explained the disposal, have you ever

11· · ·made the distinction to the person who is asking

12· · ·you as between an empty versus a partially full

13· · ·Hot Shot device?

14· · · · · A.· · ·One of the questions that I did ask

15· · ·was if it was dusty or not or if it looked old or

16· · ·not.

17· · · · · Q.· · ·Did you ask if it was empty of the

18· · ·pesticide?

19· · · · · A.· · ·I wasn't sure if they were aware

20· · ·enough for that, so I asked if it looked old and

21· · ·then I can ask probing questions after that

22· · ·depending on what the answers were.

23· · · · · Q.· · ·On how many occasions, if you can

24· · ·estimate, did you have an inquiry and discussion

25· · ·like that with somebody at Starbucks?


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·2· · · · · A.· · ·I can't give you an exact number, but

·3· · ·it wasn't that many.

·4· · · · · Q.· · ·As far as you know -- withdrawn.

·5· · · · · · · · ·Do you know what guidance -- I had

·6· · ·asked you -- sorry.· I had asked you before if you

·7· · ·had ever contacted the solid waste agency.· I'm

·8· · ·asking now more generally:· Are you aware of what

·9· · ·any guidance from such an agency is with respect

10· · ·to disposing of partially full Hot Shot devices in

11· · ·New York City?

12· · · · · · · · ·MR. MOY:· Objection.

13· · · · · A.· · ·The answer is no, I don't.

14· · · · · Q.· · ·Okay, we can put this document aside.

15· · · · · · · · ·I've just posted a document labeled

16· · ·Exhibit Kranz 48.· It's a four-page e-mail

17· · ·produced by plaintiffs.

18· · · · · · · · ·(Whereupon, Kranz Exhibit 48 was

19· · · · · marked at this time.)

20· · · · · A.· · ·Okay.

21· · · · · Q.· · ·Do you recognize all or part of this

22· · ·e-mail chain?

23· · · · · A.· · ·I remember the tour that I had with

24· · ·Jill and I do remember parts of this e-mail chain,

25· · ·yes.


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·2· · · · · Q.· · ·Is the tour that you're referring to

·3· · ·with Jill something that happened or similar

·4· · ·meetings on a regular basis or was this a one=time

·5· · ·special event?

·6· · · · · A.· · ·It wasn't a regular basis.· It was

·7· · ·just as needed.

·8· · · · · Q.· · ·And what do you remember of this

·9· · ·particular visit with Jill?

10· · · · · A.· · ·That we went to the Port Authority

11· · ·store and that it was actually very eye-opening.

12· · ·We did find the fruit fly breeding site and we

13· · ·found it under the counter, but on the base

14· · ·in -- inside the baseboard tiles.

15· · · · · · · · ·So what was happening was, liquid was

16· · ·leaking from the partner side to the customer side

17· · ·through the baseboard tiles and it created an

18· · ·environment where fruit flies were -- I guess,

19· · ·were breeding.· So the store was clean, but there

20· · ·was no way for them to access it.· So until we

21· · ·actually popped open a tile and we saw underneath

22· · ·it and behind it, we actually didn't find it.

23· · · · · Q.· · ·Can you determine from the dates of

24· · ·the e-mail chain what date you and Ms. Shwiner

25· · ·visited the Port Authority store?


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·2· · · · · A.· · ·I'm going to have a look.· Do you me

·3· · ·find the 31st -- so it was November 1st because I

·4· · ·did an e-mail here that states "Which store do you

·5· · ·want to meet tomorrow night" and that was dated

·6· · ·Tuesday, 31st of October.

·7· · · · · Q.· · ·Could I direct your attention,

·8· · ·please, down to the third page of the document

·9· · ·toward the top, there's an e-mail on October 30,

10· · ·2017, 8:26 a.m. Jill@avptermite@aol.com?

11· · · · · A.· · ·I'm there.

12· · · · · Q.· · ·Could you read that, the paragraph of

13· · ·that e-mail to yourself?

14· · · · · A.· · ·Okay.

15· · · · · Q.· · ·In the second line she writes, "I

16· · ·spoke to Rami last Wednesday before our meeting

17· · ·about the cleanliness issues and excessive use of

18· · ·the 'No-Pest Strips.'"

19· · · · · · · · ·My question, Mr. Kranz, do you have

20· · ·any memory of meeting with Jill and having a

21· · ·discussion like that prior to your Port Authority

22· · ·visit?

23· · · · · A.· · ·Having a meeting with Jill?

24· · · · · Q.· · ·Having a discussion with Jill about

25· · ·that subject.


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·2· · · · · A.· · ·No, this was -- she wrote that to

·3· · ·Margaret.

·4· · · · · Q.· · ·Right.

·5· · · · · A.· · ·Yes.

·6· · · · · Q.· · ·I'm asking if -- she's referring to a

·7· · ·conversation with you.· I'm asking if you have a

·8· · ·memory of what conversation that might be.

·9· · · · · A.· · ·No, I don't.· I don't remember that

10· · ·exact conversation.

11· · · · · Q.· · ·We can put that document aside.

12· · · · · · · · ·Posting a one-page document marked

13· · ·Kranz Exhibit Kranz 18.· It's Bates stamped 45453.

14· · · · · · · · ·(Whereupon, Kranz Exhibit 18 was

15· · · · · marked at this time.)

16· · · · · A.· · ·Okay.

17· · · · · Q.· · ·Have you ever seen this document

18· · ·before?

19· · · · · A.· · ·It looks familiar, but I'm not sure

20· · ·if I have.· I'm not sure if it's something that

21· · ·maybe, you know, Tracy or someone else sent me.

22· · ·I'm not sure.

23· · · · · Q.· · ·So I'm going to ask you to just read

24· · ·some of the information and then I'll ask you some

25· · ·questions about it if you know the answer or not,


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·2· · ·mindful that you might not have seen the document

·3· · ·before.

·4· · · · · · · · ·Could I ask you to read the short

·5· · ·paragraph that begins "To reiterate."

·6· · · · · A.· · ·"To reiterate, the on background

·7· · ·information product used in our stores must meet

·8· · ·high safety standards in order to comply with our

·9· · ·company guidelines.· Upon hearing reports that

10· · ·employees have used a product that violated

11· · ·company guidelines, Starbucks immediately

12· · ·instructed local leadership to remove these

13· · ·products.· We can confirm that these products have

14· · ·been removed."

15· · · · · Q.· · ·My question as it relates to you is

16· · ·whether you were ever furnished with any kind of

17· · ·confirmation that Hot Shots have been removed from

18· · ·Starbucks stores in Manhattan?

19· · · · · A.· · ·No.· So -- but then again, you know,

20· · ·just to expand on that a little bit too, that's

21· · ·operations and the operations team is the one

22· · ·that's responsible for it.· So it's not my role

23· · ·and responsibility, so they wouldn't have reported

24· · ·to me for this.

25· · · · · Q.· · ·Okay.· I ask you to read, please, the


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·2· · ·next sentence.

·3· · · · · A.· · ·"Additionally I can confirm that we

·4· · ·consulted with experts and concluded that based on

·5· · ·how the strips were used in stores, employees and

·6· · ·customers were not exposed to health risks."

·7· · · · · · · · ·MR. GRAFF:· And I'll note for record

·8· · · · · that the phrase "employees and customers were

·9· · · · · not exposed to health risks" is in bold and

10· · · · · underlined.

11· · · · · Q.· · ·My question, Mr. Kranz, do you have

12· · ·any knowledge or information about what's being

13· · ·described in that sentence?

14· · · · · A.· · ·No, I don't.

15· · · · · Q.· · ·As far as you know, were experts

16· · ·consulted that you're aware of to determine

17· · ·whether Hot Shots were used in a dangerous way in

18· · ·Starbucks stores?

19· · · · · · · · ·MR. MOY:· Objection.

20· · · · · A.· · ·First of all, no one said that they

21· · ·were used in a dangerous way in Starbucks stores,

22· · ·okay.

23· · · · · Q.· · ·I'll ask the question differently.

24· · ·As far as you're aware, did any part of Starbucks

25· · ·ever consult with experts to confirm that the


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·2· · ·manner in which Hot Shots were used in Starbucks

·3· · ·stores did not expose employees and customers to

·4· · ·health risks?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·I've not been aware of any experts

·7· · ·that conducted any tests.

·8· · · · · Q.· · ·Have you ever heard anybody at any

·9· · ·level of management in Starbucks assert that Hot

10· · ·Shots are safe to use in Starbucks stores?

11· · · · · A.· · ·Can you clarify more.

12· · · · · Q.· · ·I know you were very involved in

13· · ·passing on the message that Hot Shots should not

14· · ·be used for the reasons we've discussed.

15· · · · · A.· · ·Clarify the question a little bit

16· · ·better, please, for me.

17· · · · · Q.· · ·Let me withdraw the question.· Did

18· · ·anybody ever tell you -- anybody at any level of

19· · ·management at Starbucks ever disagree with your

20· · ·warnings and the message that you were giving

21· · ·about Hot Shots?

22· · · · · A.· · ·At what time?

23· · · · · Q.· · ·Ever.

24· · · · · A.· · ·Ever.· No one disagreed with my

25· · ·wording, my emphasis on it.


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·2· · · · · Q.· · ·Did anybody express that in their

·3· · ·view this was not a problem?

·4· · · · · · · · ·MR. MOY:· Objection.

·5· · · · · A.· · ·No one in the leadership team, no one

·6· · ·in the district manager team, no one in the store

·7· · ·manager teams that I observed during huddles or in

·8· · ·field visits, you know, with the operations team,

·9· · ·did I ever hear that anyone said that it isn't a

10· · ·problem.

11· · · · · Q.· · ·Did you ever hear anyone at all who

12· · ·was employed or who had performed work for

13· · ·Starbucks assert that Hot Shots used in stores

14· · ·wasn't really a problem?

15· · · · · · · · ·MR. MOY:· Objection.

16· · · · · A.· · ·No one says that Hot Shot use in

17· · ·stores -- no one said that we had a problem with

18· · ·Hot Shots used in stores so we did have them

19· · ·there, but no one was -- sorry, please repeat the

20· · ·question one more time.

21· · · · · Q.· · ·Did any person ever communicate to

22· · ·you that the use of Hot Shots in Starbucks stores

23· · ·would not create a risk to health or safety?

24· · · · · A.· · ·Could you be more specific in that.

25· · · · · Q.· · ·I don't think I can.· Are you able to


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·2· · ·answer the question as I've worded it?

·3· · · · · A.· · ·Did anyone --

·4· · · · · · · · ·MR. MOY:· Objection.

·5· · · · · A.· · ·Just repeat that one more time,

·6· · ·sorry.

·7· · · · · Q.· · ·Did anyone ever communicate to you

·8· · ·that, in their view, using Hot Shots in Starbucks

·9· · ·stores wasn't a significant problem?

10· · · · · · · · ·MR. MOY:· Objection.

11· · · · · A.· · ·What do you mean by "significant

12· · ·problem"?

13· · · · · Q.· · ·Wasn't a problem of any degree.

14· · · · · · · · ·MR. MOY:· Objection.

15· · · · · Q.· · ·I'll -- I'll re-ask it all in a row.

16· · ·Did any current or former employee of Starbucks

17· · ·ever communicate to you, in substance, that they

18· · ·believed that the use of Hot Shots in any

19· · ·Starbucks store was not a matter of concern?

20· · · · · · · · ·MR. MOY:· Objection.

21· · · · · A.· · ·We -- can you clarify what you mean

22· · ·by "not a matter of concern"?· I just need more

23· · ·specifics to answer it.

24· · · · · Q.· · ·That what you were identifying as a

25· · ·problem, that is the use of Hot Shots in stores,


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·2· · ·was not in fact a concern that people needed to

·3· · ·worry about.· Did anybody ever say, in substance,

·4· · ·words to that effect?

·5· · · · · · · · ·MR. MOY:· Same objection.

·6· · · · · A.· · ·Okay.· So again just to give you the

·7· · ·answer, in my communications with the leadership

·8· · ·team no one ever pushed back and said that it's

·9· · ·not a problem.· If you're asking are there -- are

10· · ·there legal uses for a Hot Shot in a store, the

11· · ·answer is yes, there are, but that's what I'm

12· · ·trying to clarify when you say areas of concern.

13· · · · · Q.· · ·Okay, that's helpful.· What I was

14· · ·trying to narrow my question to if any people

15· · ·other than the leadership team -- you've explained

16· · ·that that they were very in agreement with your

17· · ·message.· Was there anybody else at Starbucks who

18· · ·expressed disagreement with your message about Hot

19· · ·Shots being a problem and should not be used in

20· · ·stores?

21· · · · · · · · ·MR. MOY:· Objection.

22· · · · · A.· · ·No.· No one disagreed that it should

23· · ·not be used in stores.

24· · · · · Q.· · ·Okay.

25· · · · · · · · ·Just posted a document Kranz Exhibit


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·2· · ·8.· It's three pages Bates numbered DEF 154

·3· · ·through 156?

·4· · · · · · · · ·(Whereupon, Kranz Exhibit 8 was

·5· · · · · marked at this time.)

·6· · · · · Q.· · ·Mr. Kranz, do you recognize this

·7· · ·e-mail chain?

·8· · · · · A.· · ·Yes, I do.

·9· · · · · Q.· · ·Is it again the case that on the

10· · ·first page, the e-mail at the top is a forward

11· · ·from you to the company's counsel?

12· · · · · A.· · ·That is correct.

13· · · · · Q.· · ·Could I direct your attention to the

14· · ·e-mail toward the bottom half of Page 2 from Keith

15· · ·Costello on July 12th, 2018.

16· · · · · A.· · ·I'm at it.

17· · · · · Q.· · ·Do you see that you're one of the

18· · ·noted cc recipients of the e-mail?

19· · · · · A.· · ·Yes, I do.

20· · · · · Q.· · ·Did you read the e-mail at or around

21· · ·the time it was sent?

22· · · · · A.· · ·Yes, I did.

23· · · · · Q.· · ·The subject line is "Stores

24· · ·Purchasing Pest Control Items FYI Importance

25· · ·High."· Prior to reading this e-mail, had you ever


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·2· · ·been told by anybody that any stores were

·3· · ·purchasing their own pest control items?

·4· · · · · A.· · ·So are you -- well, this is 2018.· So

·5· · ·the first e-mail that I got from Jill was 2016, so

·6· · ·we knew that stores had them in there.· How they

·7· · ·got them in there and who purchased them, I don't

·8· · ·know.

·9· · · · · Q.· · ·Okay.· So would this be the first

10· · ·time that it was communicated to you, in words or

11· · ·in writing, that stores were purchasing such

12· · ·items?

13· · · · · · · · ·MR. MOY:· Objection.

14· · · · · A.· · ·From what I can remember, yes, that

15· · ·will be the first time.

16· · · · · Q.· · ·What position did Keith Costello hold

17· · ·on the date of this e-mail?

18· · · · · A.· · ·Keith was senior facility manager.

19· · · · · Q.· · ·Did you discuss this e-mail with

20· · ·anyone after you received it?

21· · · · · A.· · ·I'm sure I did.

22· · · · · Q.· · ·And I'll narrow it down a little bit.

23· · ·In the months of July or August, 2018, the e-mail

24· · ·is dated July 12th, who do you believe you would

25· · ·have spoken with about this e-mail at that time?


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·I would have spoken to Keith at that

·3· · ·time.· I don't recall the conversation, but I

·4· · ·would have -- I would have spoken to him.

·5· · · · · Q.· · ·Do you believe that you did have a

·6· · ·conversation with Keith, whether or not you

·7· · ·remember the details?

·8· · · · · A.· · ·I believe that -- yes, reading this I

·9· · ·believe that I would have contacted Keith.

10· · · · · Q.· · ·For what purpose would you have

11· · ·contacted him?

12· · · · · A.· · ·To get a little more information and

13· · ·even to clarify the information.

14· · · · · Q.· · ·And as you sit here today to the best

15· · ·of your memory, do you know any further

16· · ·information or clarifications on the information?

17· · · · · A.· · ·No, I don't remember even the

18· · ·conversation that I had with him.· Again, it was a

19· · ·while ago.

20· · · · · Q.· · ·Further down in his

21· · ·e-mail -- withdrawn.

22· · · · · · · · ·Going up to the bottom of Page 1, the

23· · ·e-mail from you September 13, 2018, 2:16 p.m., to

24· · ·Keith Costello and a number of cc's.· Could I ask

25· · ·you to read the text of your e-mail.


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · · · · A.· · ·Yes, it says "Hi, Keith:· FYI since

·3· · ·your last e-mail, I've been recommending stores

·4· · ·concentrate on cleaning and to leave the pest

·5· · ·control vendors to do their job."

·6· · · · · Q.· · ·What is your last e-mail that you

·7· · ·referred to in that sentence?

·8· · · · · A.· · ·"Since your last e-mail" seems to

·9· · ·detail Keith's e-mail that we just went through.

10· · · · · Q.· · ·So the date on Keith's e-mail?

11· · · · · A.· · ·The 12th.

12· · · · · Q.· · ·July 12th, 2018?

13· · · · · A.· · ·Yes.· Yup.

14· · · · · Q.· · ·Was there any reason in particular

15· · ·that you sent this e-mail on September 13th, 2018?

16· · · · · A.· · ·Not that I can remember, but I'm sure

17· · ·something that happened that I felt necessary to

18· · ·reach out to Keith.

19· · · · · Q.· · ·When you wrote that since his last

20· · ·e-mail you've been recommending stores concentrate

21· · ·on cleaning leaving the pest control vendors to do

22· · ·their job, is that something that you began

23· · ·recommending subsequent to his last e-mail?

24· · · · · A.· · ·No, that was something that I was

25· · ·concentrating on.· That was something that I was


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·1· · · · · · · · · · · ·- RAMI KRANZ -

·2· · ·emphasizing with all the operation leadership

·3· · ·saying follow the Starbucks protocol of we're in

·4· · ·charge of the cleanliness and the food safety of

·5· · ·the store.· The pest vendor is in charge of

·6· · ·controlling the pests and applying the pesticides.

·7· · · · · Q.· · ·Is that the same message you had been

·8· · ·communicating since 2016?

·9· · · · · A.· · ·That is correct.

10· · · · · Q.· · ·Do you know whether anyone, other

11· · ·than you, on the leadership team had any

12· · ·communication with Keith Costello about the

13· · ·substance of his e-mail?

14· · · · · A.· · ·I honestly couldn't tell you.· I do

15· · ·not have any information about anyone else

16· · ·reaching out to him.

17· · · · · Q.· · ·Who is Joseph DeMetro?

18· · · · · A.· · ·Off the top of my head, I don't

19· · ·recall Joseph De Metro so I'm not a hundred

20· · ·percent sure.

21· · · · · Q.· · ·Did you ever complain about the AVP

22· · ·or any of its personnel to anyone?

23· · · · · A.· · ·No, I didn't.· I had a good

24· · ·relationship with Jill.

25· · · · · Q.· · ·And I know she can't talk on the


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·2· · · · · A.· · ·Yes.

·3· · · · · · · · ·MR. MOY:· I'm, sorry, Ari, I just

·4· · · · · wanted to note on the record Exhibit 53

·5· · · · · contains underlining that I believe counsel

·6· · · · · might added.

·7· · · · · · · · ·MR. GRAFF:· I'll note that.

·8· · · · · · · · ·MR. MOY:· Okay.

·9· · · · · Q.· · ·Mr. Kranz, you'll note that on Page

10· · ·52 because there's a lot of legal verbiage in

11· · ·there, I've placed red highlighting under a couple

12· · ·of sentences just for the purposes of being able

13· · ·to refer you to the section I have in mind to ask

14· · ·you about.· The other red underlining that appears

15· · ·in this document is, likewise, placed by me to

16· · ·facilitate the communication.

17· · · · · · · · ·Do you see in the second underlined

18· · ·bit on Page 3 it says "Defendant will produce Rami

19· · ·Kranz, Manager Quality Assurance, to testify

20· · ·generally as to Defendant's awareness, or lack

21· · ·thereof of, of the use of pesticides including

22· · ·DDVP or Hot Shots based on his communications with

23· · ·representatives of AVP at Defendant's Manhattan

24· · ·locations, as well as the initiatives and actions

25· · ·undertaken to remediate the same."


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·2· · · · · · · · ·Mr. Kranz, is it your understanding

·3· · ·that you've been designated by the defendant to

·4· · ·testify about that subject?

·5· · · · · A.· · ·Yes.

·6· · · · · Q.· · ·Did you do any preparation work in

·7· · ·particular to obtain more information about this

·8· · ·specific subject?

·9· · · · · · · · ·MR. MOY:· Objection.

10· · · · · A.· · ·No, I didn't.

11· · · · · Q.· · ·The line here refers to your

12· · ·"communications with representatives of AVP"?

13· · · · · A.· · ·Uh-huh.

14· · · · · Q.· · ·We touched on Jill Shwiner and Paul

15· · ·D'Auria.· Have you had any communications with

16· · ·anyone else at AVP, as far as you know?

17· · · · · A.· · ·Not that I know of.· Jill was my main

18· · ·contact at AVP.

19· · · · · Q.· · ·And the sentence where it ends it

20· · ·says, "as well as the initiatives and actions

21· · ·undertaken to remediate the same."· What

22· · ·initiatives were undertaken to remediate the use

23· · ·of DDVP or Hot Shots in Starbucks stores?

24· · · · · A.· · ·So my initiatives and actions

25· · ·undertaken -- because I can discuss what I did, I


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·2· · ·can't discuss what the operations team did; but I

·3· · ·brought it to the operations team's attention via

·4· · ·e-mails and in-person meetings at the New York

·5· · ·Metro leadership team meetings.· I made them aware

·6· · ·via the huddles that I joined and mentioned in the

·7· · ·huddles, and then had the regional director or the

·8· · ·leader of that team reiterate the message and to

·9· · ·make -- to emphasize that message; and I also

10· · ·added it to our shift supervisor workshop so that

11· · ·we could get a broader range and get it, you know,

12· · ·to more people as well and more partners within

13· · ·the New York Metro area.

14· · · · · Q.· · ·When it refers here to the actions

15· · ·undertaken to remediate DDVP or Hot Shot use in

16· · ·Starbucks stores, is that any different than the

17· · ·initiatives that you were just describing?

18· · · · · A.· · ·No, it's one and the same.

19· · · · · Q.· · ·You have no information about what

20· · ·operations did with the information that you

21· · ·provided to them, beyond hearing it from you?

22· · · · · A.· · ·I only have knowledge of what

23· · ·operations did when I observed it during the

24· · ·huddles and when I observed it in the field.

25· · ·Outside of that I have no -- you know, I had no


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·2· · ·visibility to what they were doing.

·3· · · · · · · · ·But I can tell you that my

·4· · ·observations during the huddles, during the

·5· · ·meetings at the leadership team, everyone took it

·6· · ·very seriously and, you know, everyone was

·7· · ·following up on it.

·8· · · · · Q.· · ·Do you know if anybody was ever

·9· · ·punished or disciplined in the context of their

10· · ·employment at Starbucks in connection with the

11· · ·misuse of Hot Shots?

12· · · · · A.· · ·Again, my role and responsibility

13· · ·doesn't include, you know, any like knowledge of

14· · ·punishments.· So that's all part of operation,

15· · ·that's part of the partner resource's manager, so

16· · ·I'm not privy to that.

17· · · · · Q.· · ·Okay.· So in terms of this subject,

18· · ·what you know and are able to testify about is

19· · ·what you experienced firsthand and know from your

20· · ·direct involvement; is that fair to say?

21· · · · · A.· · ·That is correct.

22· · · · · · · · ·MR. MOY:· Objection.

23· · · · · Q.· · ·And you don't know about things that

24· · ·you were not directly personally involved with if

25· · ·they were done by operations based on your advice,


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·2· · ·correct?

·3· · · · · A.· · ·Correct.

·4· · · · · Q.· · ·Let's scroll down, please, to Page 5.

·5· · ·I'm sorry, I'll -- actually, yeah, Page 5.· I have

·6· · ·underlined there a sentence that's "Subject 5 as

·7· · ·Requested by Plaintiffs," it reads "Any and all

·8· · ·complaints, reports, and/or allegations raised to

·9· · ·any managerial employees of Defendant by anyone

10· · ·(other than Plaintiffs) concerning the use of DDVP

11· · ·in Defendant Manhattan area stores at any time

12· · ·from 2015 to the present."

13· · · · · · · · ·And, Mr. Kranz, if you could go down

14· · ·to that next page, I underlined a sentence of the

15· · ·response that states "Defendant is not aware of

16· · ·any individuals, other than Plaintiffs Paul

17· · ·D'Auria and Jill Shwiner, who mention the use of

18· · ·the DDVP in Defendant's Manhattan locations and

19· · ·will produce Rami Kranz, Manager Quality

20· · ·Assurance, to testify generally as to the lack of

21· · ·complaints regarding the use of pesticides,

22· · ·including DDVP, at Defendant's Manhattan

23· · ·locations."

24· · · · · · · · ·Mr. Kranz, is it your understanding

25· · ·before the start of this deposition that defendant


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·2· · ·designated you to testify on that subject?

·3· · · · · A.· · ·Yes.

·4· · · · · Q.· · ·What, if anything, did you do to

·5· · ·prepare to testify on this specific subject?

·6· · · · · A.· · ·I didn't have to prepare.· I lived

·7· · ·it, so I -- I've been here through the whole

·8· · ·period from 2013 till present.· If there were any

·9· · ·complaints or any other complaints, I would have

10· · ·known about it.

11· · · · · Q.· · ·Is it your testimony that you were

12· · ·never informed of any complaints, other than

13· · ·through Paul D'Auria and Jill Shwiner?

14· · · · · A.· · ·Complaints about what?

15· · · · · Q.· · ·DDVP in Defendant's Manhattan stores.

16· · · · · A.· · ·As far as I recollect, I didn't

17· · ·receive any other complaints except from AVP, Paul

18· · ·and Jill.

19· · · · · Q.· · ·Do you have any information about

20· · ·whether there may have been other people who

21· · ·received complaints that weren't addressed to you

22· · ·directly?

23· · · · · A.· · ·Could you be more specific about

24· · ·other people, please.

25· · · · · Q.· · ·I understand that the only people who


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·2· · ·complained to you directly are Paul D'Auria and

·3· · ·Jill Shwiner.· Do you have any information at all

·4· · ·about whether anyone else complained to someone

·5· · ·other than you?

·6· · · · · A.· · ·So just to be -- just to be specific,

·7· · ·Paul never complained to me.· Paul complained to

·8· · ·Jill who relayed that to me.· I do know that Jill

·9· · ·also sent an e-mail to Keith -- not Keith, sorry.

10· · ·Stephen.· Stephen was there at the time, Stephen

11· · ·Gallant.

12· · · · · Q.· · ·Did anybody in the leadership team or

13· · ·management ever inform you that they had received

14· · ·a complaint from anyone concerning Hot Shots in

15· · ·Starbucks stores?

16· · · · · A.· · ·I don't remember them mentioning a

17· · ·complaint.

18· · · · · Q.· · ·Did you ask any people whether they

19· · ·had received complaints of that nature, in

20· · ·preparation for this deposition?

21· · · · · A.· · ·No, I have not.

22· · · · · Q.· · ·Did you ever ask other members of the

23· · ·leadership team directly if anybody ever

24· · ·complained to them about Hot Shots or DDVP in

25· · ·Starbucks stores?


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·2· · · · · A.· · ·During the leadership meetings I

·3· · ·didn't specifically ask them if anyone had

·4· · ·complained, but during our discussions it would

·5· · ·have come up; but it never did come up.

·6· · · · · Q.· · ·And you have no written notes or

·7· · ·documentation or records reflecting the dates or

·8· · ·particulars of those weekly meetings; is that

·9· · ·correct?

10· · · · · A.· · ·That's correct.

11· · · · · Q.· · ·Was there another person who would

12· · ·regularly take notes at those meetings, that

13· · ·you're aware of?

14· · · · · A.· · ·No, there was not.

15· · · · · Q.· · ·Were the meetings recorded by audio

16· · ·and/or video?

17· · · · · A.· · ·No, they were not.

18· · · · · Q.· · ·Were they transcribed?

19· · · · · A.· · ·No, they were not.

20· · · · · Q.· · ·Do you know whether a district

21· · ·manager named Tim Hutchinson ever received any

22· · ·complaint from employees about the use of Hot

23· · ·Shots or DDVP in stores?

24· · · · · A.· · ·I -- to the best of my recollection,

25· · ·I do not recall if he received any complaints.


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·2· · · · · Q.· · ·Do you know whether a district

·3· · ·manager named Les Fable ever received any

·4· · ·complaints from anyone concerning Hot Shots or

·5· · ·DDVP used in stores?

·6· · · · · A.· · ·Again to the best of my recollection,

·7· · ·I can't recall if they did or didn't.· I don't

·8· · ·remember if they did.

·9· · · · · Q.· · ·One more name.· Tina McDonald, is

10· · ·that a person you're familiar with at Starbucks?

11· · · · · A.· · ·Tina McDonald, I believe she's the

12· · ·PRM.

13· · · · · Q.· · ·Do you have any information as to

14· · ·whether Tina McDonald ever received a complaint

15· · ·from anyone concerning Hot Shots or DDVP use in

16· · ·Starbucks stores?

17· · · · · A.· · ·No.· I know for sure that I don't

18· · ·know of any complaints that she's received.· She's

19· · ·not mentioned it to me, that I -- I can recollect.

20· · · · · · · · ·MR. GRAFF:· I apologize for

21· · · · · successive breaks.· Off the record.

22· · · · · · · · ·(Whereupon, a brief discussion was

23· · · · · held off record.)

24· · · · · Q.· · ·Mr. Kranz, during any of the breaks

25· · ·we've taken in the course of your testimony today,


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·2· · ·have you communicated with anyone other than

·3· · ·counsel?

·4· · · · · A.· · ·I've communicated with my kids and

·5· · ·I've made one phone call, yes.

·6· · · · · Q.· · ·Have you made any communications with

·7· · ·anyone, other than what you've already told us

·8· · ·about?

·9· · · · · A.· · ·No, I haven't.

10· · · · · Q.· · ·Have you read anything during any of

11· · ·the breaks?

12· · · · · A.· · ·No, I haven't.

13· · · · · Q.· · ·During the break, I posted a document

14· · ·that I've labeled as Kranz 9.· It is a copy of the

15· · ·appendix filed by plaintiffs.· It's in a format of

16· · ·two pages of the appendix printed on each

17· · ·horizontal page of the document.· Will you let me

18· · ·know when you have it open.

19· · · · · A.· · ·I have it open.

20· · · · · Q.· · ·Can you --

21· · · · · · · · ·MR. MOY:· Can you republish that

22· · · · · again, Ari, because I don't think I got it in

23· · · · · my Chat.

24· · · · · · · · ·(Whereupon, Kranz Exhibit 9 was

25· · · · · marked at this time.)


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·2· · · · · Q.· · ·Mr. Kranz, if I could ask you to go

·3· · ·page by page, image by image, and starting at the

·4· · ·first page and let me know if you recognize or

·5· · ·have any information about what you see on the

·6· · ·page.· I'll note that on the right half of the

·7· · ·first page, I think we talked about this before.

·8· · · · · A.· · ·Right.· So I don't -- I don't like

·9· · ·remember the one, the first photo on the first

10· · ·page.

11· · · · · · · · ·I'll go to the second page.· So the

12· · ·second page, second photo, it doesn't jog my

13· · ·memory; but what it does jog is one of the

14· · ·documents that you showed Jill mentioned a hot

15· · ·Shot in a fly light, so I'm wondering if this is

16· · ·what she was referring to.

17· · · · · Q.· · ·It may well have been, but please

18· · ·continue -- continue to review it.

19· · · · · A.· · ·So the other photo, the first photo

20· · ·on the second page, I don't remember.

21· · · · · Q.· · ·In that photo, do you recognize the

22· · ·yellow block as the insides of what's in a Hot

23· · ·Shot package?

24· · · · · · · · ·MR. MOY:· Objection.

25· · · · · A.· · ·It certainly looks like it.         I


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·2· · ·mean, -- it could be a sponge, but it's -- we

·3· · ·don't use that kind of sponge in Starbucks.

·4· · · · · Q.· · ·Okay?

·5· · · · · A.· · ·We use a blue one.· So it does look

·6· · ·like it.

·7· · · · · · · · ·Okay, so I'm on the third page.· Now,

·8· · ·the first photo my question is -- I don't recall

·9· · ·it, but my question:· Is that where they found it

10· · ·or is that where they put it out to take a photo?

11· · · · · Q.· · ·To my understanding -- and I'm not

12· · ·able to testify, but I can represent that the best

13· · ·of my understanding is these were photographed

14· · ·exactly as found.

15· · · · · A.· · ·Okay.· Then I don't remember the

16· · ·other one, the second photo on the third page.

17· · ·The fourth -- I don't remember the fourth page,

18· · ·either one of those photos.· The fifth page, I

19· · ·also don't remember or it doesn't -- I don't

20· · ·recognize it.

21· · · · · Q.· · ·On the fifth page, if I could pause

22· · ·you just for minute, the photograph on the

23· · ·right-hand side, do you recognize that Hot Shot

24· · ·device?

25· · · · · A.· · ·Yes, it definitely looks like a Hot


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·2· · ·Shot.

·3· · · · · Q.· · ·Based on your familiarity with Hot

·4· · ·Shots, is this device empty or not empty?

·5· · · · · · · · ·MR. MOY:· Objection.

·6· · · · · A.· · ·From the photo that I'm seeing right

·7· · ·now, I'd say this device does not look empty; but,

·8· · ·I mean, I'm not a hundred percent sure, but it

·9· · ·does not look it.

10· · · · · Q.· · ·Thank you.

11· · · · · · · · ·If you could please continue on to

12· · ·the next page reviewing and let me know if you

13· · ·recognize or think you have any information about

14· · ·any of the pictures as you go through.

15· · · · · A.· · ·No, I don't remember Page 6.· Page

16· · ·7 -- no, I don't remember -- I don't recognize

17· · ·Page 7's photos.· Now one question too:· On Page 7

18· · ·and Page 8 it says "Penn Station," which store was

19· · ·it in Penn Station, because there's two?· There's

20· · ·Penn 1 and Penn 2.

21· · · · · Q.· · ·I'm not sure of the information

22· · ·beyond what you see in the document, but I

23· · ·appreciate your pointing out that there's a

24· · ·distinction.

25· · · · · A.· · ·Page 8 again, also I don't


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